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STATE OF ILLINOIS )

. ) SS , FIRM I.D.: 24797
COUN'I`Y OF COOK )

I_N 'l`l~IE CIRCUIT COURT OF C()OK COUNTY, ILLINOIS
COUNTY DEPAR'I`MENT, LAW DIVISION '

JUDITH BOYD, ns Specia! Administrator of the
Estate Of` LARRY BOYD, deceased,

Plaintiff,

}\¢/\JV\-/\J`_/

V.

I:I.<_)..;.W .19_1;;,_£10305.9_ _.._ .. . .._...._..,_.

 

VIRGIL CALVERT NURSING & REHABILITATION

' CENTER, INC., VIRGIL CA,LVERT PROPERTY, L.L.C.
CAHOKIA NURSING & REHABILITATION CENTER,
INC., SW MANAGEMENT COMPANY`, CAHGKIA
.BUILD!NG, L.L.C., SHELDON WOLFE, RONN!E K'LEIN
MOSHE HERMAN, KATHLEEN CRA'WFORD, SYED
I'IUSSAIN, M.D., WANDA`CONYERS, R.N., VICKI
COOPER,. R.N., CHRISTINE HOOKS, R.N., LAURA
SEGELI~IORST, R.N., DIANE FOSSETT, R.N.,
ROSEMARY GREEN, R.N., MARCY CRANDALL, L,P.N.
C`EHNELLE FERREL, L.P.N., MARY'GRANGER, L.P.N.,
RODERICI{A HICKMAN, L.P.N., KEYWANA
JOHNSON~LEE, L.P.N., ANGELA SHARP, L.P.N.,
PATRICIA WESLEY, L.P.N., TERESEA ROBERG,
O; BASGA BERNARD, M.D., LINDA STUCI{EY, R,N.,
CHERYL SCHAEFER, R.N., CRYSTAL ATWOOD, L.P.N.,
PENNY BRIONES, L.P.N., GLENDA'GILBERT, L.P.N.,
EILEEN HISEL, and SHAILAJA PULISETTY, M.D.

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Det`endauts,

1"' AMF,NI)ED COMPLAINT A'r LAW

COUNT l ~ VIRGIL CALVER~T NURSING & REHAB!LIIATION CENTER, INC'.

(Nm'sing Home Care Act)

 

NOW COMES the P|aintiff, JUD[TH BOYD, as Special Administrator of the Estate of
LARRY BOYD, deceased, by and through ‘hc;r attofneys, KRALOVEC, JAMBOIS, &
SCHWARTZ, and complaining of the Detbndant,_.VlILGIL.~.CA~L»VER~’I’~~-N'URSING“K€""'“"”"""""`“'""
REHABILITATION CENTER, ‘lNC., (11€1'€inanr “CALVERT"), and states as follower

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l. 'l`hat on, prior, and subsequent to August l, 2008, and at all times relevant hereto,

the Defendent, CALVERT, by and through its agents, servants and/or employees, whether

actual or apparent, was an Illinols corporation which owned, operated, managed, maintained

and/or controlled healthcare facilities, institutions, and/or offices located in and throughout the

Ccunty of Coclc and Stete of Illlnois.

2. 'l`hat on, prior, and subsequent to August l, 2008, end at all times relevant hereto,

the Det`endent, CALVERT, owned, operated, managcd, maintained and _c__t)ntrolled a residential

nursing care tacility and by and through its agents, servants and/or employees, whether actual or
apparent, offered medical and nursing care and other daily living assistance, to the' public and to
the Decedent, LARRY BGYD, end employed various physicians nurses, and/or other healthcare
professionals in the provision of such services. '

_ '3. That on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
tli;Decedent, LARRY BOYD, was `e resident of the facility owned, operated, managed,
maintained and controlled by the Defendsnt, CALVERT, by and'through' its agents, servants,
anal/or empioyees, whether actual cr apparent, which had accepted the Decedent, LARRY
BO‘YD, us a resident and undertook to provide care and treatment to him during her residenoy.

4. That on, prior, and subsequent to Angust l, 2008, and at all times relevant hereto,
there was, in l`ull force and effeet, a statute known as the Nursing Horne Care Act, as amended
(the -“ACT”), 210 ILCS 45/1~101 et seq.

5. Thut on, p1l01, and subsequent to August 1,2008, and at all times relevant hereto,
the Defendant, CALVERT, was a “t`acility” as defined by 45/1 l 13 of the Act and was subject to
the requirements of the Act and the regulations of the illinois Department of Public Health

promulgated pursuant to the Act.'

6. That on, prior, and subsequent to Au§,ust l, 2008, and at~all times relevant hereto,

the Det`endant, CALVERT, was subject to the requirements of 42 U..S C A § 11061~ (.1_999) et.. -._._~_._.~- ---

scq. as amended by the Omnii)us Budget Reconciliation Act ot` 1987 (“OBRA”)

 

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7. ’l`hat on, pricr,'and subsequent t_o August l, 2008, and at all times relevant hereto,
the Det`endant, CALVERT, was subject to the requirements of Volume 42, Ccdc ot` Federal
Regulations, Part 483 setting l`orth Medicare and Mecllcaid Requirements for Long Term
Facilities (“OBRA REGULATION”), as effective on October l, 1990.

8. 'l'hat on, prior, and subsequent to Augus't'l, 2008, and at all times relevant bereto,
the Det`enclant, CALVERT, was a “nursing facility” as defined by 4Z‘U.S.C.A. § 13961',

9. Tliat on, prior, and subsequent to August 1,2008, and at all times relevant liereto, … _*

 

 

the listendant, CALVER'I‘, by and through its owners, agents, scrvants, and/or employees
whether actual or apparent, was under a statutory obligation not to violate the rights of any
resident of the facility including the obligations not to abuse or' neglect any resident as provided

by the Act as follower '

An owncr, licensee, administrator, employee or agent of a facility shall not abuse or '
neglect a rcsldent. lt is the duty of any facility employee or agent who becomes
aware of such abuse or neglect to report it as provided in "'I‘he Abused and
Neglccted Long Term Cnre Facility Residents Reportiug Act". (210 lLCS 45/2»107)
siriri’€t’ni¢i’n\"kzir‘!¢rle'k\'¢¥r¥f\ir'k‘!¢‘!¢kw§¢r'r‘l¢\'¢¥¢‘k'llw\ifir*!r%\’n’¢ir‘in’n’rr’¢\’r'k~kf¢i¢‘¢‘n'r
"Owner" means the individunl, partnership, corporation, association or other
person who owns a facility. In the event n facility is operated by a person Who leases
the physical plant, which is owned by another person, "owner" means the person
who operates the fucility, except that if the person who owns the physical plant is an
affiliate ot' the person who operates the facility and has significant control over the
day-today operations of the facility, the person who owns the physical plant shall ,
incurjointly and severally with the owner all liabilities imposed on an owner under
this Act. (210 lLCS 4511-1~19)

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"Liccnsec" means thc individual or entity licensed by tile~l)epnrtment to operate the
t'acility. (210 ILCS 45/1~115)

W‘k~i'r¥nlr‘I\'#r*!n'rif'ki’ric'?n'r?r'k‘k‘k't’n’r'ki:'k‘k>?%"krlr~le)lr‘k*i¢l'€‘k~lr*&‘lh’ck‘k*‘kww%'
"A¢lministrator" means a person who is charged with the general administration
and supervision of a facility and licensed, if rcquircd, under the i‘lursing llorho
Administrntors Liceusing and Disciplinary Act, as now or hereafter amended. (210
lLCS 45/1»105)

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"Abuse" means any physical or mental injury or sexual assault inflicted on a
resident other than that by accidental means in a facility. (210 ILCS 45/1~103)
ilr'kit'in'r‘k'h*ki'¢t’¢¥¢'h#inkwdri¢r‘r'l¢v'<i¢*}:tlr~l¢'lr~lnlr‘l¢?¢‘lr‘l¢rl‘idn¥rk‘k‘k‘h'k'k'k`kt’¢i¢‘k
"Neglect" means a failure in a facility to provide adequate medical or personal care
or nwlntenancc, which failure results in physical o`r luciitalinjnryjo_axesidsnt,or_iu..._. .___~» .~ ~~~~,
'--~~-~~~;~~~ ~~ ~~~'"tlre'deteri'o,r“ntion ot a rcsuieut's physical or mental condition. (210 ILCS 45/1~»!17)

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’l`hat on, prior, and.subsequent to August l, 2008, and at all times relevant hereto,

during the course of the residency of the Decedent, LARRY BOYD, at CALVERT, the

De:t`endants facility, by and through its agents,' 'servants, and/or employees, whether actual or

apparent, violated the provisions ot' the Act as follows:

3.

Failure to ensure that the nursing facility was adequately staffed with

qualified and licensed medical professionals to provide adequate care for
the resident in violation of OBRA REGULATION 42 CFR 483.30;

Failnre to appropriately finance the hiring of appropriately trained staff

-‘ --in-violation~oi"(%l'O"H;CS'LlS'/B'lZOZ) (trom Ch. lll_ 1/2, par. 4153~202);

Faiiure to ensure the health and safety of all residents at the nursing
facility in violation of(ZiO ILCS 45/2~101) (from Ch. ill 1/2, par.

_4152-101);

Failure to report the abused or neglect to the appropriate authorities
pursuant to the "The Abused and Neglected Long Term Care Facility

Residents Reporting Act" (210 ILCS 45/2~107) (t`rom Ch. ill l/2, par.
4l52-107);

Failure to utilize appropriate devices to prevent the development and
progression ot` pressure ulcers and/or skin breakdown in violation of 77
Ill.Admin.Code, Ch.l, §300.1210(a), 77 lll.Admin.Code, Ch.l,
§300.1210(b), and 42 CFR sec. 483.10,'

Failu_re to prevent the development cf the patient’s pressure ulcers and/or
skin breakdown in violation of 77 Ill.Admin.Code, Ch._l, §300.1210(a),
77 Ill.A<lmin.Code, Ch.l, §300.}210(b), and 42 CFR sec, 483.10; `

Failure to initigate the progression of the patient’s' pressure ulcers and/or
skin breakdown in violation of 77 lll.Admin.Code, Ch.l, §300._1210(£1),
77 lll.Adinin.Code, Ch.l, §300.1210(b), and 42 CFR see. 483.10;

Faiiu;re to perform daily skin assessments in violation of 77
lli.Ad_min.Code, Cb.l, §300.1210(3), 77 lll.Admin.Code, Ch.l,
§300.1210(b), and 42 CFR_sec. 483. 10 ' v

Failure to adequately and properly treat wounds in violation of 77
[ll,Admin.COde, Ch.I, §300.1210(3), 77 lli.Admin.Code, Ch.l,
§.'300.1210(b), and 42 CFR Sec. 433.l0;

Fallure to develop a comprehensive care plan for each resident in
violation of 77 lll.Admin.Code, Ch.l, §300,1210(a), 77 Ill.Admin.Code,
Ch.I, §300.1210(1)), and 42 CFR sec. 483,20; ~

_.~.,....~.-............

 

Failure to prevent reduction in resident’s range ot` motion and ensure

resident received treatment to increase range of motion in violation of 77

4

 

 

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ni.Aamm.co<te, ch.i, §300.121'0(3), 77 m.Admin.eoae, cit.i,
§300. 1210(1»), and 42 cnn see 433.25;

l. ` ` Failure to ensure'freedom from medication errors in violation of 77
Iii.Admin.Code, Ch.l, §300.12!0(a), 77 lli.Admin.Cocie, Ch.I,
§300.12i0_(b), and 42 CFR seo. 483.2_5; and `

in. Fnilure to maintain complete and accurate medical records in violation_ot`
42 CFR 483.75.

l 1. That as a direct and proximate result of one or more ot‘ the l`oregoing careless and
negligent acts and/or omissions on the part of the Defenda_n_t,' §§LVEBT, l)_¥_ar_i_d tlnjou_g_ii‘_it§`_
agents servants,'and/oi:_e;nulo~;./ees,";vhether actual oi' eppsrent, the Dccedent, LARRY BOYD,
sustained serious and permanent injuries; expended great sums of money in an attempt to be
loured; suffered from disability end disi`igurement; and experienced great pain, physical and
mental suffering, of which such injuries were permanent in nature

12. 5 That the llursing Home Care Act, as amended, provides as follows: v

Tlie licensee shall pay the actual damages and costs and attorney‘s fees to a
facility resident whose rights, as specified in Pnrt l of Article II of this Act,
are violated (210 ILCS 45/3-602).

v 13. Tilat the Nursing Home Cete Aet, as amended, provides as foilows:

'i’he owner and licensee are liable to a resident for any intentional or

negligent act or omission of their agency or empioyecs, which injures the
resident (210 ILCS 45/3~601).

WHEREFORE, the Plaintiff, JUDITH BOYD, as Speciai Administt‘ator of the Estate of
LARRY BOYD, prays for judgment against the Defendani, CALVERT, in such amount in
excess of this Com't’s jurisdictional requisite as Wiii fairly and adequately compensate the

Plaintifi" for the `injuries, losses, and damages as herein above alieged.

 

COUN’I‘ ll - VIRGIL CALVER’I` NURSING & REHABILITATIOI§{ CENT-ER, INC.
(Wrongfui Death) `

 

 

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NOW COMES the Piaintift`, JUDITH B()YD, as Special Admirlistrator of the Estate of
LARRY BOYD, deceased, by and through her attorneys, `KRALOVEC, JAMBOIS, &
SCHWAR'I'Z, and complaining of the Defendant, CALVER'I', and states as foilows:

i. 'l‘hat` on and subsequent to August 1, 2008, and at all times relevant hereto, the '
Det'endant, CALVERT, was an illinois corporation, which by and through its agents, servants,
and/or employees, whether actual or apparent, owned, operated, managed, maintained and/or

controlled healthcare facilities, institutions and/or offices located in the County of Cooic and the

State of illinois

Z. ` Tliat on and subsequent to August i, 2008, and at all'times relevant hereto, the
Defendant, CALVERT, by and through its agents, servants, and/or employees, whether actuator
apparent, offered healthcare services to the public and to the Decedent, LARRY BOYD, and
employed various physicians, nurses, and/or other healthcare professionals in the provision of

l such services.' y

3. That on and subsequent to August i, 2008, and at ali times relevant hereto, the
Decedent, LARRY BOYD, was a patient of the healthcare facility owned, operated, managed,
maintained and/or controlled by the Def`enclant, CALVERT, which by and through its agents,
servants, and/or empioyees, had accepted the Dccedent, LARRY BOYD, as a resident and
undertook to provide him ccre.

4. T`hat on and subsequent to August i, .2008, and at all times relevant hereto, the
nerendam(s), sHELDoN WoLFE, RoNNIs KLEn~i, closure HERMAN, sYED
HUSSAIN, M.D., and KATHLEEN CRAWFORD, as weil as any and all nurses providing care
and treatment to the Decedent, LARRY BOYI), including, but not limited to WANDA
CONYERS, R.N., CHRIST!NE HOOKS, R.N., CHINELLE FERREL, 'L.P.N., VICKI
C()GPER, R.N.', MARY ANN CRANDALL, L.P.N., PATRIC!A WESLEY, L.P.N., MARY
(,RANGER L.P N., RODERICKA llIC_KMAN_, L.P_‘.N., LAURA SEGELHORST. R,N..

DIANE FOSSET'I‘, RN., ROSEMARY GREEN, R.N., ANGELA SHARI’, L.P N., and

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KEYWANA J()HNSON-LEE, L.P.N., were agents and/or employees, whether actual or

apparent, of the Defendant, CALVERT, and at all times relevant hereto, acted within the scope

.ot` that agency and/or employment

5. That on and subsequent to August i, 2008, and at all times relevant hereto, there

existed a duty on the part of the Defendant', CALVERT, by and through its agents, servants,

and/or employees, whether actual or apparent, to possess and apply the skill and knowledge'of a

reasonably well~qualified nursing home healthcare staff and to treat the Decedent, LARR:Y__~

..B-OYD, i.n a manner thh equated or exceeded the applicable standard of eare.

6. ' That on and prior to Aagust i, 2008, the Decedent, 'LARRY BOYD, was a

resident of the Del`endant facility, CALVERT, where he developed skin breakdown, which

ultimately progressed into necrctic tissue; several decubitus ulcers, leading to osteomyeiitis; and

fever and respiratory distress that worsened, requiring bronchoscopy and chest tubes, causing the

Deccdent’s condition to rapidly deteriorate until his untimely death on Aprii 20, 2009.

7. Tliat disregarding its duties, the Defendant, CALVERT, by and through its

agents, servants, and/or employees, whether actual or apparent, was then and there guilty of one

or more of the following careless and negligent acts and/or'omissions:

8.

f)

Failure to ensure that the nursing facility was adequately staffed with
qualified and licensed medical professionals to provide adequate care for
the resident; 1

Failure to appropriately finance the hiring of appropriately trained staff;

P'ailure to ensure the health and safety of all residents at the nursing
facility;

Failure to report the abuse or neglect to the appropriate authorities
pursuant to the "~'['he Abnsed and Negleeted Long Term C.'are Faeility
Residents Reporting Act"; ‘

Failure to utilize appropriate devices to prevent the development and
progression of pressure ulcers and/or skin;

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"_sl€ih"b'fé'al&ib_\,vlt`;”

 

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g. Faiiure to mitigate the progression ot` the patient’s pressure ulcers end/or
skin breakdown;

h. Failure to perform daily skin assessments;'

i. Fallure to adequately and properly treat wounds;

j. Failure to develop a comprehensive care plan for esch resident;

l<. Feiilure to prevent reduction in resident‘s range ot` motion and ensure
resident received treatment to increase range of motion;

l. Fallure to ensure freedom from medication errors; and

. q v w annum Failure to anainta;complete and accurate medical records
8. 'I`liut as a direct and proximate result of one or more of the foregoing careless and

negligent acts and/or omissions on the part of the Det'endant, CALVERT, by and through its
agents,' servants, and/or employees whether actual or apparent, the Decedent, LARRY BGYD
sustained serious and permanent injuries; expended great sums of money in an attempt t'o be
cured; suffered from disability and disiigurement; and experienced great pain and physical .
suffering prior to his death on,or about April 20, 2009.

9. That the Circuit Couit of Coolc County, Law Division, lllinois, has entered an
Order appointing JUDITH BOYD as Special Adminlstrator of the Estate of LARRY BOYD,
dcceased, evidencing his right and standing to sue. v `

i(). '1`hat the Decedent, LARRY BOi(D, has left surviving her next-of'~i<in, to wit,
JUD!T!{ B_GYD, his wit'e, TIANNA BOY`D, his daughter, LARRY BOYD, JR., his son,
TIANNA BOY'D, his daughter, TANIA PAULETI`E, his daughter, and WILLIAM MICHABL '
PAULETTE, his son, who have suffered severe and permanent damages, including, but not
limited to, loss of service, companionship, and society as a result ot` the premature death of
miqu BOYD.

_ ll. That the Plaintift' brings this action in Count II under 740 ILCS 180/01 et. s-eq.

commonly known as the Wr_o'n'g__i"ul l?ea_tll__/§ct__ol:_lgi_no_is:__

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WHEREFORE, the Plaintit'i`, JUDlTH IlOYD, as Spccial Adininistrator of the Estate of
F..ARRY BOYD, prays for judgment against the Det`endant, CA.LVERT, in such amount in
excess ot"this Court’s jurisdictional requisite as will fairly and adequately compensate the
Plaintift' for thc injuries, losses, and damages as hereinabove alleged.

COUN'E Ill - VIRGIL CALVER'I` NURSlNG & REHABILlTATION CENTER INC.

 

(Survival) 4
NOW CGMES the Piaintiff, JUDITH ll()YD, as Special Adrninistrator of the Estate of
l LARRY BOYD, deceased, by and through her attorneys, KRALOVEC, JAMBOIS, &
SCHWARTZ, and complaining of the Defendant, 'CALVERT, and states as foilows:
l-9. That the Plaintit"f hereby re-aileges and incorporates paragraphs i through 9 ot`
Count ll as and for paragraphs l through 9 of this Count llI as though fully set forth hercin'.
lO. That as a direct and proximate result of one or more of the foregoing and careless
and negligent acts and/or omissions on the part ot` the Defendant, CALVERT, by and through its
agents, seivants, and/or employees, whether actual or apparent, the Decedent, LARRY BOYD,
was injured and suffered damages of a personal and pecuniary nature, including pain and
sufferingx prior to his death, damages for which had he survived he would have been entitled to
g ` maintain an action; and such an action has survived him and accrued to the benefit of his heirs at .
iaw, to wit, JUDI'I‘H BOYD, his wit'e, TlANNA BOYD, his daughter, LAR.RY BOYD, J`R., his
son, 'l`lAI\iN/t BOYD, his daughter, 'l`ANU\ PAULETTE, his daughter, and WlLLIAM
MICHAEL PAULETTE, his son. k
ll. That the Plaintiff brings this action _in Count ill under 755 ILCS 5/27»6
commonly known as the Suzvivai Act of lllinois.
WHEREFOR]E, the Plaintiff, JUDITH BOYD, as special administrator ot` the estate of
LARRY BOYD, dcceased, prays for judgment against the Det'endant, CALVERT, in such
"m°“"‘ m excess °f this C°“"’.S.i_“ti§F‘?a`%f>si‘l..s<.lrtats santana andaassessments _ _

the Piaintifli' t`or the injurics, iosses, and damages as hereinabove alleged.

 

 

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COUNT IV-- VTRGIL CALYER'[‘ l.’ll(')l€i'ER'l`Yx L.L.C.
d (Wrongt`ul Death)

NGW COMES the Plaintiff, JUDITH BOYD, as Special Administrator ot' the Estate_ of
LARRY BOYD, dcceased, by and through her attorneys, KRALOVEC, JAMBOIS, &
SCl~IWAR'l‘Z, and complaining of the Defendant, VIRGIL CALVER’!` l’RGPERT`Y, L.L. C. ‘
(hereinnt`ter “CALVERT PROPERTY"), and states as follows:

l. That on and subsequent to August l, 2008, and at all times relevant hereto, the '

Det'endant CALVER'I` PR()PERTY ives a property and/or management company which by
and through its agents, servants, and/or employees, whether actuator apparent, owned, operated,
managed, maintained and/or controlled healthcare facilities, institutions and/or cl`t“xces, located
in and throughout the State of Illiuois.

2. That on and subsequent to August l, 2008, and_at all times relevant hereto, the
Det’endant, CALVERT PROI’ERTY, in' its own administrative and managerial duties and by
and through its agents, seivants, and/or employees, tvhether actual or apparent, offered healthcare
services to the public and to the Decedent, LARRY BOYD, and employed various physicians,
nurses, and/or other healthcare professionals in the provision of such services,

3. That on and subsequent to August l, 2008, and at all times relevant hereto, the
Decedcnt, LARRY BOYD, Was a patient of the healthcare facility owned, operated, managed,
maintained and/or controlled by the Det‘cndnnt,.CALVERT PROPERTY, by and through its
agents, scrvants, and/or employees, had accepted the 'Decedent, LARRY BOYD, as a resident

' and undertook to provide him care, .

4. That on and subsequent to August l 2008 and at all times relevant hereto, the
Det`endant(s), SHELDON WOLFE, RONNIE KLEIN, MOSHE HERMAN, SYED
llUSSAlN, M. D , and KA'l‘HLEEN CRAWFORD, as well as any and all nurses providing ca1e
and treatment to the Decedent, LARRY _B(_)YD, includ__ing, bt_zt n_ot_ limi__t_e__d_ tg_ WANDA_

CONYERS, R.N., Cl'lRiSTINE FIOOKS, R.N., CHlNELLE FERREL, L.P.N., `VICKI

lO

 

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' COOPER, R.N., MARY ANN CRANDALL, L.P.N., PA'I‘RICIA WESLEY, L.P.N., MARY
GRANGER, L.P.N., RODERICKA 'HICKMAN, L.P.N., LAURA. SEGELHORST, R.N.,
DIANE FGSSETT, R.N., ROSEMARY GREEN', R.N., ANGELA. SHARI’, L.P.N., and
KEYWANA JOHNSGN~LEE, L.P.N‘., were agents and/or einplcyees`, whether actual or
apparent, of the Def'cndant, CALVER'X' PROPERTY, and at all times relevant hereto, acted
within the scope ot` that agency end/or employment.

5. ’i`hat on and subsequent to August l, 2008, and at all times ielevant hcreto, there

“' ' existed tt aatyon the pat stats oefendtmt, cALvEsT PRoPERTY, by attah;ro;aitits:tgents,
sei'vants, and/or employees, whether actual or appai'ent, to possess and apply the skill and
knowledge of a reasonably well¢quallfied nursing horne healthcare staff and to treat the Decedent, 4
LARRY B()YD, in a manner which equaled or exceeded the applicable standard of eax'e.

6. l '[`hat on and prior to Angust l, 2008, the Decedent, LARRY BOYD, was a
resident of the Defendant’ facility, CALVERT,'where he developed skin breakdown, which
ultimately progressed into necrotic tlssne; several decubitus ulcers, leading to osteomyelitis; fever

~ and respiratory distress that worsened, requiring bronchoscopy and chest tubes; causing the
Decedent’s condition to rapidly deteriorate until his untimely death on April 20, 2009.

7. 'I`hat disregarding its duties, the Del'endant, CALVERT PROPERTY', by and
through its agents, servants, and/or employees whether actual or appai‘ent, was then and there
guilty of one or more ol` the following careless and negligent acts and/or omissions:

a. Failure to ensure that the nursing facility was adequately stalfed with qualified

and licensed medical professionals to pl'cvide adequate care for the rcsident;

b. Fallure to ensure the health and safety of all residents at the nursing facility; and

c. Fallui'e to ensure that the facility has sufficient nursing staff to provide nursing

and related services to maintain the highest practicable physical, mental, and

psyeliosocial well being of each _residen_t_ w

ll,

 

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8. 'l"hat as a direct and proximate result of one or more of the foregoing careless and
negligent acts and/or omissions on the part ot` the Def‘endant, CALVERT PROPERTY, in its
own administrative and managerial duties and by and through its agents, seivants, and/or
employees, whether actual or apparent, the Dececlent, LARRY B;OYD, sustained sei'icus and
permanent injuries; expended great sums of money in an attempt to he cured; suffered l`rom

disability and distigurement; and experienced great pain and physical suffering prior to his death

on or about April 20, 2009.

9. v y That theCncultCourt of Ccolth~onnty, lliincis,' County Department, Law
Division, has entered an Order appointing JUDITH BOYD as Special Administrator of the
Estate of LARRY BOYD, deceased, evidencing her right and standing to sue. l

lO, That the Decedent, LARRY BOYD, has left surviving his next-of-kin, to wit, -
JUDITH BOYD, his wife, TIANNA BOYD, his daughter, LAR.RY BOYD,.JR., his son,
TIANNA BOYD, his daughter, TANIA PAULETTE, his danghterand WILLIAM MICI~IAEL
PAULETTB, his scn, Who have suffered severe and permanent damages, including, but not
limited to, loss of service, companionship, and society as a result oi' the premature death of
LARRY BOYD.

ll, That the Plaintiif brings this action in Count lV under 740 iLCS 180/01 et. seq,
commonly known as the Wl'ongful Death Act cf Illinois.

W}lERl?.FORE, the Plaintifi`, JUDITHi BOYD, as Special Administrator of the Estate oi`
LARRY BOYD, prays for judgment against the Defendant, CALVERT PRGPERTY, in such
amount in excess ot` this Court’s jurisdictional requisite as will fairly and adequately compensate

. the Plaintiff for the injuries, losses, and damages as hereinabove alleged

COUNT V~ VIRGIL CALVERT PROPER’I'Y, L.L.C.

(Survival)

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NGW COMES the Piaintit`f, JUDlTI-I BOYD, as Special Administrator of the Estate oi`,
LARRY BOYD, deceascd, by and tiutough her attorneys, KRALOVEC, JAMBOIS &
SCHWARTZ,_and complaining oi` the Defendant, CALVERT PRGPERTY, states as folicws:

1~9. 'i`hat the Plaintift` hereby 1'e~aileges and incorporates paragraphs l through 9 of
Count iV as and for paragraphs l through 9 of this Count V as though fully set forth herein.

lO. That as a direct and proximate result of one or more of the foregoing and careless

y and negligent acts and/or omissio`hs on the part of the Dei'endant, CALVERT PROPERTY, by

and through its agents, servants, and/or empioyees, whether actual or apparent, the Decedent,
LARRY BOYD, was injured and suffered damages of a personal and pecuniary nature, including
pain and suffering prior to his tleath, damages `i`cr which had he survived he would have been
entitled to maintain nn action; and such an action'has survived him and accrued to the benefit of
his heirs at law, to wit, JUDlTH BOYD, his wife, TIANNA BOYD, his daughter, LARRY
BOYD, JR., his son, TIANNA BOYD, his daughter, TANIA PAULE'I`TE, his daughter, and l
wreme MICHAEL PAULa'rrE, his Son. z _ d

ll. That 'the Plaintii`f brings this action in Count V under 755 lLCS 5/27~6
commonly known as the Survival Act oflliinois. '

WHEI€.EFORE, the Plaiirtlff, JUDITH BOYD, as Special Administrator of the Estute oi`
LARRY BOYlD, deceased, prays for judgment against the Det`endant, CALVERT PROPER’I‘Y,
in such amount in excess oi" this Court’s jurisdictional requisite as will ~i`air-ly and adequately
compensate the Plaintifi" for the injuries, losses, and damages as hereinabove alleged

COUN.T Vl ~ CAHOKLA NURSING AND‘REI~IABILITATION CENTER, INC.
(Nursing Home Care Act) 5
NOW COMES the Piaintiff, JUDITH BOYD, as Speciai Admin_istrator of the Estate of

LARRY BOYD, deceased, by and through her attorneys, KRALOVEC, JAMBOIS, &

SCHW“:IET% aid saunders . st the t netrartair,.. outside meaning a

REHABILITATION CENTER, INC., (hereinai`ter“CAHOKIA”), and states as i`ollows:

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l. 'l‘hat on, prior, and subsequent to November 14, 2008, and at all times relevant
hereto, the Det`endant, CAHQKIA, by and through its agents, servants, and/or ernployees,
whether actual cr apparent, was nn Illlnois corporation which owned, operated, managed,
maintained and/or controlled healthcare facilities, institutions and/or offices located in and
throughout the Stnte oflllinois. n

2. ’lhat on, prior, and subsequent to November 14, 2008, and at all times relevant

herctc, the Det`endant, CAHOKIA, owned, operated, managed, maintained and controlled n

residential nursing care facility and by and through its agents, servants and/or employees, whether
actual or apparent, offered medical and nursing care and other daily living nssistance, to the
public and to the Decedent, LARRY BOYD, and employed various physicians, nurses, and/or
other healthcare professionals in the provision of such services v

3. 'l`lmt on, prior, and subsequent to Novemher 14, 2008, and at all times relevant

hereto, the Decedent, LARRY BOYD, was a resident of the facility owned, operated, managed
d maintained and controlled by the'Defendant, CAHGKIA, by and through its agents, servants,

and/or employees whether actual or apparent, which had accepted the Decedent, LARRY

BOYD, as a resident and undertook to provide care and treatment to him during his residency.

4. That on, prior, and subsequent to November 14, 2008, and at all times relevant
hereto, there was, in t`ull t`orce and effect, a statute known as the Nursing Honie Care Act, as
amended (tlte “ACT”), 210 ILCS 45/l-lOl et seq. v

5. 'I`hat on, prior, and subsequent to November 14, 2008, and at all times relevant
hereto, the Def`endant, CAHOKIA, was a “t`acility" as defined by 45/l-l 13 of the Act and was
subject to the requirements of the Act and the regulations of the Illinois Department of Public

Health promulgated pursuant to the Act.

6. That on, prior, and subsequent 'to Novembe\‘ 14, 2008, and at all times relevant

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,(1990) et Seq, ns amended by the Gnmibus Budget Reconcil_iation Act of 1987 (“GB_RA”).

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7. That on, pn'or, and subsequent to November 14, 2008, and at all times relevant
hereto, the Det`endant, CAI~IOK!A, was subject to the requirements of Volume 42, Code of
Federal Regulations, Part 483 setting forth Medicar'e and Medicaid Requirements for Long Terrn
Faeilities (“OBRA REGULATION”), as effective on October l, 1990.

8. That on, prior, and subsequent to Novernber 14, 2008, and at all times relevant
hereto, the Defcnc_lant, CAl'lt")KIA, was a “nursing i`acility” as defined by 42 U\S.C.A. § l396r.

9. That on, prior, and subsequent to November l4, 2008, end at all ti)nes relevant
ultereto, the ."D.ei`endant, CAlIOKIA, by and through its owners, agents, servants, end/or
employees, whether actual or apparent, was under a statutory obligation not to violate the rights '

ot` any resident of the facility including the obligations not to abuse or neglect any resident as

provided by the Act as foilows:

A.n owmcr, licensee, administrator, employee or agent of a facility shall not abuse or
neglect a resident itt is the duty of any facility employee or agent who becomes
aware of such abuse cr neglect to report lt as provided in "The Abused and
Neglectcd Long 'I'erm Care Faeility Residen'ts Reportlng Act". (210 ILCS 45/2-107)
WWWKWWRWWWWWWWWWWWRW%ww*#**k**%%www****%#Ww#www v

"Owner" means the individual, partnership, corporation, association or other
person who owns a facility. In the event a facility is operated by a person who leases
the physical plant, which is owned by another pcrson, "owner" means the person
who operates the fncility, except that if the person who owns the physical plant is nn
affiliate oi` the person who operates the facility and has significant control over the
dny~to-duy operations of the facility, thc person who owns thc physical plant shall
incur jointly and scverally`with the owner all liabilities imposed on an owner under
this Act. {210 ILCS 45/1-119)

RWWWR%*W*WWWWW#W#&W*W*WW#*#W##WW*WWKW*WW%W*WWWW

"Llconsee" means the individual or entity licensed by the ])epnrtmcnt to operate the
facility. (210 lLCS 45/1~115)
'RWWWWWWWW***W*WWW*WWW%WWWRWW*W*WWWWWWHWWR*WWW*#
"Admluistrntor" means n person who is charged with the general administration
and supervision of a facility and license<!, if requlrcd, under the Nursiug Home

Admiuistrators licensing and Disciplinnry Act, as now or hereafter amendcd. (210
ILCS 45/1-105) 1

wwwwww#ww**ww#kw#****wwwwkaknwwwwwwww*wwkwwwwww
"Abuse" means any physical or mental injury or sexual assault inflicted on a
resident other than that by accidental means in a facility. (210 lLCS 45/1-103)

kWRWRWk#*Ww*#w#kk**k#*w**#k*wkwRWWWWW*WW%*WWWWW

"Ncglect" means a failure in a facility to provide adequate medical or personal care
ar muint@n“m@» Whi°h failurertr.t!l_t§.tu.rhr§tsrt 9.1‘.watermanras..i.;¢satan..ev n..
tlié`dh'terioi‘d'fidii"dia'iicl§ident's physical or mental condition (le) ILCS 45/1-11'7)

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iO. ’i`__bat on, prior, and subsequent to November 14, 2008, and at ali times relevant

hereto, during the course of the residency of the Deoedent, LARRY BO.YD, at CAHOKIA, the

Dei'endants facility, by and through its agents, setvants, and/or etnployees, whether actual or
apparent, violated the provisions of the Act as follows:

a. Failure to ensure that the nursing facility was adequately staffed with

qualified and licensed medical professionals to provide adequate care for

the resident in violation of OBRA REGULATION 42 CFR 483.30;

b. Failure to appropriately finance the hiring of appropriately trained staff
~ ~ " ~- -~ ~ -~ ~'in~violation~ot"(‘l'lG*lb€S~45'/3=202)"(ii'oanht'l“l'l"‘l‘/Q;'pai‘.'4'l'53'~'2'02)';" ” `

c. Failure to ensure the health and safety of all residents at the nursing
Faoility in violation of(ZlO ILCS 45/2.-101) (l`rorn Clt. ill l/Z, par.
4152-101);

tl. Failure to report the abuse or neglect to the appropriate authorities

pursuant to the "Tbe Abused and Negleoted Long Term Care Faeility
Residents Reporting Act" (210 ILCS 45/2-107) (from Ch. ill 1/2, par.
4152~107);

e.v Foilure to utilize appropriate devices to prevent the development and
progression of pressure ulcers and/or skin breakdown in violation of 77
Ill.Admin.Code, Ch.I, §SOO.IZIO(a), 77 Ill.Admln.Code, Ch.l,
§300.1210(b),' and 42 CFR sec. 483.10; '

f. Failure to prevent the development of the patient's pressure ulcers and/or
skin breakdown in violation oi" 77 lll.Adrnin.Code, Ch.l, §300.1210(a),
77 Iil.Aclmin.Code, Ch.l, §300. l 210(b), and 42 CFR. seo. 483.10;

g. Failure to mitigate the progression of the patient’s pressure ulcers and/or
skin breakdown in violation of 77 lll.Admin.Cocle, Cb.l, §BOO.lZIO(a),
77 lll.Admin.Code, Ch,l, §300.1210(b), and 42 CFR séc. 483.10;

h. Fallure to perform daily skin assessments in violation of 77
Ill.Admin.Code, Ch.l, §300.1210(a), 77 Ill.Adrnin.Cocie, Ch.l,
§300.12i0(b), and 42 CFR sec. 483.10 ' '

i.' `Failure to adequately and properly treat wounds in violation of 77
lll.Admin.Code, Cb.l, §300.1210(a), 77 lll.Atlmin.Code, Ch.l,
§300.12] O(b), and 42 CFR sec. 483.i0;

j. Failure to develop a comprehensive care plan for each resident in
violation ot` 77 Ill.Adtnin.Code, Ch'.l, §300.12l0(a), 77 lll'.Admin,Code,

Ch.l, §300.l210(b), and 42 CFR sec. 483.20;

Failnr~e "t_o prevent reclastidti“i“li“rc'sident"shl'an*ge" oi` inotion and-ensure v
resident received treatment to increase range ot` motion in violation of 77

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lil Admin. Code, Ch.i, §300.1210(;0, 77 lll.Admin.Code, Ch.i,
§300.1210(\>), and 42 CFR sec 483 25;

l. Fuiiure to ensure freedom t`rom medication errors in violation'of 77
Ill.Admin.Code, Ch.I, §300.1210(8.), 77 lll.Admin.Code, Ch.i,
§300.1210(!)), and 42 CFR sec. 483.25; and '

m. Failure to maintain complete and accurate medical records in violation of
42 CFR 483.75.

l l. 'I‘ht\t as a direct and proximate result of one or more of the foregoing careless and
negligent acts end/or omissions on the part of the Det`endnnt, CAHOKIA, by and through its
sgents, serv_anis, and/or ernpioyees, Whethex actual or sppnrent, the Deeedent, LARRY BOYD,
sustained serious end permanent injuries; expended great stone of money in an attempt to be
eured; suffered il'otn disability and disiigurement; and experienced grest pain, physical and
mental suffering, of Whieh such injuries were permanent in nature

4 12. That the Nursing Home Csre Aot, as amended, provides as follows:
The licensee shall pay the actual damages and costs and attorney‘ s fees to n
facility resident whose rights, ns specified m Part 1 of Articlo II of this Act,
are violated (210 ILCS 45/3 602).

13. That the Nursing Home Care Aet, ss arnended, provides as follower

'I‘ho owner and licensee nrc liable to a resident for any intentional ur
negligent net or omission of their agency or employees, which injures the
resident (210 ILCS 45/3- 601)

WHEREFORE, the Plaintiff, JUDITH BOYD? as Spccial Administrator oi` the Estate of
LARRY BOYD, prays for judgment against the Defendent, CAHOKIA, in such amount in
excess of this Court’s jurisdictional requisite us will lhirly and adequately compensate the
Plalntiff for the injuries, losses, and damages as herein shore sileged.‘

COUN'l` VII ~ CAHOKI.§NURSING AND REHABILITA"I‘ION CENTER, iNC¢
l (Wi'ongfui Death)
l\iOW C()MES the Plaintii`f, JUDI'I`H BOYD, as Speoi§\l Aclrninlstrator of the Estate of
.L*\RR.Y ¥EQYP; .¢@€>Fsr‘?»..._ls.._.=zsd_.thrust ?zs£._st<_>n<zyr». !tBsLQi/.!I.§,..rnunols s

SCHWAR'I`Z, and complaining of the Def`endant, CAHOKIA, states ns follows:

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l. 'l`hat on, prior, and subsequent to November 1`4, 2008, and at all times relevant
hereto, the Det`endant, CAHOK.IA., was an lllincis corporation, which by and through its agents,
servants, and/or employees,~ whether actual or apparent, owned, operated, managed, maintained
and/or controlled health and nursing care facilities, institutions and/or offices located in the
County ot` St, Clai:r and the Stato of Illinois.

Z. Tbnt on, prior, and subsequent to November 14, 2008, and at all times relevant
heretc, the Det`endant, CAHOKIA, by and through its agents, servants and/or ernployees,
whether actual or appareht, including but not limited to SHELDON WOLFE, RONNIE
KLEIN, MOS}[E HERMAN, and TERESA RUBERG, offered health and nursing care
services to the public and to the Decedent, LARRY BOYD, and employed various physiciansl
nurses, and/or other healthcare professionals in the provision cf such services

3. That on, prior, and subsequent to Novernber'llt, 2008, and at all times relevant
hereto, the Decedent, LARRY BOYD, was a patient of the health care facility owned, operated,.
managed, maintained and/or controlled by the Det'endant, CAHOKIA, which by and through its
agents, servants, and/or employees, had accepted the Decedent,`LARRY BOYD, as a resident
and undertook to treat the condition from which he suffered

4. That on, prior, and subsequent to November ]4, 2008, and at all times relevant
hereto, the Del`endant(s), and any and all nurses providing care and treatment to the Decedent,
LARRY BOYD, including but not limited to CRYS'I‘AL A'[`WOOD, L,P.N., PENNY

BRIONES, L.P.l~l,, GLENDA GILBERT, L.P.N., and EILEEN HISEL, were agents and/or
employees Whethcr actual or apparent, oi` the Del`endant, CAHIDKIA, and at all times relevant
hereto, acted within the scope of that agency and/or empioyment. l

5. That on, prior, and subsequent to November 14, 2008, and at all times relevant

hcreto, there existed a duty on the part of the Det`endant, CAHOKL\, by and through its agents,

emma and/01 employees little cent at carson ,1<.> races and spur the Slsll.cn._

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knowledge of a reasonably well-qualified health and nursing care staff and to treat the Decedcnt,
LARRY BOYD, in a manner which equated or exceeded the applicable standard of care.

6. 'l`hat on and prior to August 1,2008, the Dece`dent, LAR_RY B()YD, Was a _
resident ot` the Det`endant facility, CAH()KIA, where he developed significant decubitus ulcers,
many ot` which progressed in severity to Stage lV ulcers, including the development oi` right hip
osteornyelltis and sepsls; worsening contractures; a multi-dmg resistant bacterial infection of his
central line; and significant weight loss, causing the Decedent’s condition to rapidly deteriorate 4

- until his auth-ner death on April 20 2009

7 . , That disregarding its duties, the Defendant, CAHO KIA, by and through its

agents, servants, and/or empioyees, whether actual or apparent, was then and there guilty of one

or more ot` the E'ollowing careless and negligent acts and/or omissions:

a. Failure to ensure that the'facility was adequately staffed with qualified

' and licensed medical professionals rtc provide adequate care for the
resident;

b. Failure to ensure that all documentation of care and treatment (a)

accurately reflects the nursing process and {b) reveals that residents
receive care that reflects the minimum acceptable standards ofpractice;

c. Failure to timely utilize appropriate devices to prevent the development
and progression of pressure ulcers and/or skin breakdown;

d. Failure to prevent the development of the resident’s pressure ulcers
and/or skin breakdown; _

e. Failure to mitigate the progression of the resident’s pressure ulcers
and/or skin breakdown;

f. Failure to perform daily skin treatments and/or assessments;

g. Faiiure to prevent infection of the resident’ s pressure ulceis and/or skin
breakdown;

h. Failurc to develop, document, and follow an appropriate turning and
repositioning schedule;

i. Failure to develop and follow a comprehensive care plan;

" J". " 'l"`a`iluré le provide adequa`le`nut'ritipn' and"hyd'ratio'n"tcallow t`or the

proper healing of wounds; and

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k. Fallure to adequately and properly treat wounds.
8. That as a direct end proximate result of one or more oi` the foregoing careless and
. negligent acts and/or omissions on the part of the D'efenclant, CAI`IOKTA, by and through its
agents, servants, and/or employees whether actual or apparent, the Decedent, LARRY BOYD,
sustained serious and permanent injuries which ultimately led to his untimely death on April 20,
2009.

y "'- "*9'.' "’l‘hat~the’~€irou'it"'Court"'of"€ook”'CoTintj/,“Illinois',' Cc”)i),'lif$i"i]'e`i);§ft'r“ri€`r`i`t',' L`z?w`
Division, has entered an Order appointing JUDITH BOYD. as Special Administrator of the
Estste of LARRY BOYD, deceased, evidencing her right and standing to sue.

10. That the Decedent LARRY BOYD, has left surviving his next~of»kin, to wit,
JUD[TH BOYD, his wii`e, TIAI\WA BOYD, his daughter, LARRY BOYD, JR., his son,
TLANNA BOY-D, his daughter, TANTA PAULETTE, his daughter, and WILLIAM MICHAEL
FAULE'I`TE, his son, who have suffered severe and permanent dumages, ineluding, but not
limited to, loss of service, companionship, and society as a result ol` the premature death of .
LARRY BOYD. .

ll. 'l`hat the Plaintiff brings this action in Count Vli under 740 ILCS 180/01 er. seq_.
commonly known as the Wrongful Death Aet of lllinois.

WI~IEREFORE, the Plaintiff, JUD'ITH BOYD, as Speeial Adm_inistrator of the Est'ate of
L!iRRY BOYD, deceased, prays for judgment against the Defenrlant, CAHOKIA, in such
amount in excess of this Court’s jurisdictional requisite as will fairly and adequately compensate
the Plaintiff for the injuries, losses, and damages as herein above alleged.

COUNT ‘VIII'- CAHOKIA NURSING AND REI~IABILITATION CEN§;`ER, INiJ.

(Survival)

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NO`W COMES the Plaintifl", JUDITH BOYD, as Special Adrninistrator of the Estate of
LARRY BOYD, deceased, by and through her attorneys, KRALOVEC, JAMBOIS &
SCHWAR'I’Z, and-complaining of the Del`endant, CAHOKIA, states as follows:

1~9. That the Plaintit`f hereby re-alleges and incorporates paragraphs l through 9 of
Count VH as and for paragraphs l through 9 oi` this Count VlIl as though fully set forth herein.

l(). 'Phat as a direct and proximate result of one or more of the foregoing and careless
and negligent acts and/or omissions on the part of the Def`endant, CAHOKIA, by and through its
agents, servants, and/or ernployees, whether actual or apparent the Dcccclent, LARRY BOYD,
was injured and suffered damages of a personal and pecuniary nature, including pain and
suffering prior to his death, damages for which had he survived he would have been entitled to
maintain an action; and such an action has survived him and accrued to the benefit of his heirs at
law, to wit, JUDI'l‘H .BOYD, his wife, TIANNA BOYD, his daughter, LARRY BOYD, .IR., his
son, TIANNA BOYD, his daughter,. TANIA PAULE‘I"I`E, his daughter, and WILLIAM

. MICHABL PAULETFE, his son.

ll.l '1`hat the Plaintt_i'f brings this action in Count VIII under 755 lLCS 5/27-6
comrnonly known as the Survival Act ot` lllinois.

WHEREFORE, the Plaintii`f, JUDITH BOYD, as Speeial Adininistrator of the Estate of'
LARRY BOYD, cleceased, prays for judgment against the Dei"endant, CAHOKIA, in such
amount in excess of this Court’s jurisdictional requisite as will fairly and adequately compensate
the Plaintit`i` ior the injuries, losses, and damages as hereinabove aileged.

COUNT IX -' SW MANAGEMENT CGMPANY
(Wrongful Death)

NOW COMES the Plaintiff, JUDITH BOYD, as Speeial Administrator of the Estate of

LARRY BOYD, cieceased, by and through her attorneys, KRALO`VEC, JAMBOIS &
,SCI%YW%T%».. ssa seventeen O.f mtle . D¢.fsnssn» .§W shltNeGEMstf§ ..,.€.<>Mrasr,.
(hereinatter “SW MANAGEMENT"), states as fo'ilows:

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l. That on, prior, and subsequent to Novcrnl)er i4, 2008, and at all times relevant
hereto, the Det"endant, SW MANAGEMENT, was an Illinois corporation which in its own
administrative and managerial duties and by and through its agents, servants, and/or employecs,
wiretth actual or apparent, owned, operated, managed, maintained and/or controlled health and
nursing care fucilities, institutions, and/or oftices, including but not limited to~ CAHOKIA
REHAB!LITATION AND NURSING CENTER, INC., located in the State of lllinois

2. That on, pr'lor, and subsequent to Novctnl)er 14, 2008, and at all times relevant
hereto, the Defendant, S`W MANAGEMENT, whieh' m its own administrative and managerial
duties and by and through its agents, servants, and/or omployees, Whether actual or apparent,
offered health and nursing care services to the publicand to the Decedent, LARRY BOYD, and
employed various physicians, nurses, and/or other healthcare professionals in the provision of
such services

3. That on, prior, and subsequent to November 14, 2008, and at ali times relevant
hereto, the Decedent, LARRY BOYD, was a patient of the health care facility owned, operatcd,
managed, maintained, and/or controlled by the Defendant, SW MANAGEMENT, which in its
own administrative and managerial duties and by and through its agents, servants, and/or
etnployees, had accepted the Decedent, LARRY BOYD, as a resident and undertook to treat the

condition from which he sufferedl

. 4. That on, prior, and subsequent to November 14, 2008, and at all times relevant

hereto, the Def`endant(s), and any and ali nurses providing care and treatment to the Decedent,
LARRY BOYD\,. including but not limited to CRYSTAL ATWOQD, L.P.N., PENNY
BRIONES, L.P.N.., GLENDA GILBERT, L.P.N., and EILEEN HISEL, were agents and/or
employees, whether actual or appurent, ot` the Defendant, SW MANAGEMENT, and at all times
relevant hereto, acted within the scope of that agency and/or employment

5- . ita se aaa and abstract to Noemva.rs.zrurana411treasurer

hereto, there existed a duty on the part of the Det`endant, SW MANAGEMENT, which in its

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own administrative and managerial duties and by and through its agents, servants, and/or b
employees, whether actual or apparent, to possess and apply the skill and knowledge of a_
reasonably weil~qualified health and nursing care stuff and to treat the Decedent, LARRY

d BOYD, in a manner which equaled or exceeded the applicable standard of care.

v 6. "l`hat on and prior to August l, 2008, the Decedent, LARRY BOYD, was a
resident of the Defendant facility, CAHOKIA, where he developed significant decuhitus ulcers,
many ot` which progressed in severity to Stnge lV ulcers, including the development of right hip
osteornyclitis and sepsis; worsening contracmres;.a' inulti~dmg resistant bacterial infection ot` his
central line; and significant weight loss, causing the De_cedent’s condition to rapidly deteriorate
until his untimely death on April ZO, 2009.

7. That‘ disregarding its duties, the Defendant, SW MANAGEMENT, by and
through its agents, servants, end/or employees, whether actual or apperent, was then and there

guilty of one or more of the following careless and negligent acts and/or omissions:

u. Failure to ensure that the facility was adequately staffed with qualified
and licensed medical professionals to provide adequate care for the
resident; .

b. Failure to ensure that all documentation of care and treatment (a)

accurately reflects the nursing process and (b) reveals that residents
receive care that reflects the minimum,acceptable standards of practice;

c. liaiiure to timely utilize appropriate devices to prevent the development
and progression of pressure ulcers and/or skin breakdown;

d. Failure to prevent the development of the resi<ient’s pressure ulcers
and/or skin breakdown;

e. Failure to mitigate the progression of the resident’e pressure ulcers
and/or skin breakdown;

.E. Failure to perform daily skin treatments and/or assessments;

g. Failurel to.pt'event infection of the resident’s pressure ulcers and/or skin
breakdown;

hlt . Failure to develop, d.ccuinent_! and follow anappropriateturningnn_d

repositioni'ng schedule;

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i. Failure to develop and follow a comprehensive care plan;
j. Failure to provide adequate nutrition and hydration to allow For the
proper healing of wounds; and
k, Failure to adequately and properly treat wounds
8. 'l`hat as a direct and proximate result of one or more of the foregoing careless and

negligent acts and/or omissions on the part of the Defendant, SW MANAGEMENT, in its own
administrative and managerial duties and by and through its agents, servants, and/or employees,
ivnetner"a'ettrat"or" appareat', 'th“e" Decedent',' 'LARRY BUYD‘;' sustained '§erioifs"'a"rid' permanent
injuries which ultimately led to his untimely death on April 20, 2009. _

9. 'l`hat the Circuit Court ot` Coolc County, Illinois, County Departtnent, Law
Division, has entered an Or<ier appointing JUDKTH BOYD as Special Administrator of the
Estate ot` LARRY BOYD, deceased, evidencing her right and standing to sue.

410. That the Decedent LARRY BGYD, has left surviving his next"oi`-ldn, to wit,
JUDITH BOYD, his Wife, TIANNA BO`YD, his daughter, LAR_RY BOYD, JR., his son,
TIANNA BOYD, his daughter, TANIA PAULETTE, his daughter, and WILLIAM MICHAEL
PAULETTE, his son, who have sut't'ered severe and permanent damages, including, but not
limited to, loss of'service, companionship, and society as a result of the premature death of
LARRY BOYD.

'_ ll. 'l"hat the Plaintiil' brings this action in Count lX under 740 lLCS 180/01 er. seq.
commonly known as the Wrongful Death Act oi` Illinois.

WlIEIiEFORE, the Plaintiff, JUDI'I'I'I BGYD, as Speciai Administrator of the Estate of
LARRY BGYD, deceased, prays for judgment against the Det`endant, SW MANA¢EMENT, in
such amount iit-excess oi:` this Court’s jurisdictional requisite as will fairly and adequately
compensate the Plaintit't` i`or the injuries, losses, and damages as herein above alieged.

COUNT X - SW MANAGEMENT’COMPANY

' ‘ " ("sa'i?{/ivai)

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slow comes the Plainnfr, moran noYD, as special ndministmter of the same of
LARRY BO`YD, deceased by and through her attorneys KRALOVEC, JAMBOIS &
SCHWARTZ, and complaining of the Det`endant, SW MANAGEMENT, states as follows:
l~9. ’I'hat the Piaintifi" hereby re- alleges and incorporates paragraphs 1 through 9 of
Count IX as and t`or paragraphs 1 through 9 of this Count X as though fully set forth herein.
lO. That as a direct and proximate result of one or more of the foregoing and careless
and negligent acts and/or omissions on the part ot' the Defendant, SW MANAGEMENT, by and
through its agents, servants and/or employees, whether actual or apparent,y the Decedent,
LARRY BOYD, was injured and suffered damages of a personal and pecuniary nature, including
pain and suffering prior to his death, damages t`or \vhich had he survived he would have been
entitled to maintain an action; and such an action has survived him and accrued to the benefit of
his heirs at law, to wlt, JUDITH BOYD, his wife, TIANNA BOYD, his daughter, LARRY
BOYD, J'R, his son, TIA.NNA BOYD, his daughter, TANIA PAULE’I'i`E, his daughter~, and
WILLIAM MICHAEL PAULETTE, his son. _
ll. _ That the Plaintiff brings this action in Count X under 755 ILCS 5/27_6
commonly known as the Survivai Aet ofIliinois. v
WHEREFORE, the Plaintifi', JUDIT}I BOYD, as Special Administrator of the Estate of
LARRY BOYD, deceased prays for judgment against the Defendant, SW MANAGEMENT, in
such amount in excess ol` this Court’s jurisdictional requisiteas will fairly and adequately
compensate the Plaintifi' for the injuries, losses, and damages as hereinabove alleged
COUNT XI 5- CAHOKIA'BUILDIN G, L.L.Ct
(Wrongful Death) _
NOW COMES the Piaintiff, JUDITI-I BOYD, as Special Administrator ol` the Estate oi`
LARRY BOYD,` deceased, by and through her attorneys, I{RALOVEC, JAMBOIS &
.S.C.H.WA,BTZ<, mid_..€araalsi"ias of theDsf`sa¢aatl;.CAtlQli.¥A BEJ.K.LDING,_ L-.L.~.C-, seems

l`ollcws:

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l. v ’l`hat on, prior, and subsequent to l\iovcmi)er 14, 2008, and at all times relevant
hcreto, the Def`endant, CAHOKIA. BUlLDING, L.L.C., was a property and/or management
company which by and through its agents, servants, and/or employees, whether actual or
apparent, owned, operated, managed, maintainedl and/or controlled healthcare f’aoilities,
institutions, and/or oft`xces, located in and throughout the State of Illinois.

' 2. 'l`hat on, prior, and subsequent to November ld, 2008, and at all times relevant
hereto, the Det'endant, CA'HOKIA BUlLDlhl(l, L.L.Q., which in its otvn administrative and l
managerial duties and by and through its agents, servants, and/or employees, whether actual or
apparent, offered health and nursing care services to the public and to the Decedent, LARRY
BOYD, and employed various physicians, ~nurses, and/or other healthcare professionals in the
provision ot` such services

3. ’l`hat on, pi'lot‘, and subsequent to November l¢l, 2008,_and at all times relevant
hereto, the Decedent, LARRY BOYD, was a patient of the health care facility owned, operated,
managed, maintained, and/or controlled by the Det'endant, CAHOKIA BUILD!NG, L,L.C., by
and through its agents, servants, and/or employees, had accepted the l)ecedent; LARRY EOYD,
as a resident and undertook to treat the condition front which he suffered

4. l That on, pl‘lor, and subsequent to November 14, 2008, and at all times relevant
hereto, the Defendant(s), and any and all nurses providing care and treatment to the Deeedent,
LARRY BOYD, including but not limited to CRYSTAL ATWOOD, L.P.N., PENNY
BRIONES, L.I'.N., GLENDA GILBERT, L.P.N., and EILEEN FIISEL, were agents and/or
employees, whether actual or apparent, of the Det'endant, CAHOKIA BUlLl)lNG, L.L.C., and
at all times relevant hereto, acted within the scope of that agency and/or employment

5. 'l`hat on, pn'or, and subsequent to November l4, 2008, and at all times relevant
hereto, there existed a duty on the part of the Det`cndant, CAHOKIA BUILDING, L.L.C., by

._ .Qu‘i._il\.l'su.sl! its asalis,»...§s\‘\'wt§t an<l./.Q.r. smu_l.sr.ess,..uhether actuator app.sr.eat,..ta. possess ana

apply the skill and knowledge of a reasonably well-qualified health and nursing care staff and to

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treat the Deccdent, LARRY BOYD, in a manner which equaled or exceeded the applicable
standard ot‘ care.

6. That on and'prior to A'ugust l, 2008, the 'Decedent, LARRY BOYD, was a
resident of the Det`endant facility, CAHO!GA, where he developed significant decubitus ulcers,
many ol" which progressed in severity to Stage lV ulcers, including the development of right hip
ostecmyelitis and sepsis; worsening contractures; a multi~drug resistant bacterial infection ot` his
central line; and significant weight loss, causing the Decedent’s condition to rapidly deteriorate
l until his-untimely death on April:ZO,'dtlUSl;

7 . Thnt disregarding its duties, the Det`endant, CAHOKIA BUILDING, L.L.C., by
and through‘its agents, servants, and/or employees, whether actual or apparent, was then and there
guilty oi` one or more of the following careless and negligent acts and/or omissions:

a. ~ Failure to ensure that the nursing facility was adequately staffed with

qualified and licensed medical professionals to provide adequate care for
the resident;

b. Failure to ensure the health and safety of all residents at the nursing
facility; and
c. Failure to ensure that the facility has sufficient nursing staff to provide

nursing and related services to maintain the highest practicable physical,
mental, and psychosocial well-being of each resident.

8. 'That as a direct and proximate result of one or more of the foregoing careless and
negligent acts and/or omissions on the part'of the Dcf’endant, CAHOKIA BUILDING, L.L.C.,
inits own administrative and managerial duties and by and through its agents, sewants, and/or
employees, whether actual or apparent, the Deoedent, LARRY BOYD, sustained serious and
permanent injuries; expended great sums of money in an attempt to be cured; suffered from

disability and disi'lgurernent; and experienced great pain and physical suffering prior to his death

on or about April 20, 2009.

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9. ”l`hat the Circuit Court of Coolc County, llllnois, County Depattment, Law
Division, has entered an Order appointing JUDITH BOYD as Special Adrninistratcr of` the
Bstate of LARRY B'OYD, deceased, evidencing her right and standing to sue.

lO. 'i`hat the Decedent LARRY BOYD, has left surviving his 'next“ot`¢ltin, to wit,
JUDITI~I BOYD, his wii'e, TL¢\NNA BGYD, his daughter, LARRY BOYD, JR., his son,
TlAN_NA BOYU, his daughter, 'I`ANIA PAULETTE, his daughter, and WlLLlAM M'ICHAEL' 1
PAULETTE, his son, who have suffered severe and permanent dumages, including but not
limited to, loss of service, coropanionship, and society as 'a result of the premature death ot`
LARRY 'BOYD. ' l

ll,' 'l`hat the Plaintift” brings this action in Count XI under 740 iLCS 180/01 ct. seq.
commonly known as the Wrongi’ui Death Act of Illinois.

WHEREFORE, the Plaintiff, JUDITH BOYD, as Special Adrninistrator ot' the Estate of y
LARRY BO`YiD, deceased, prays for judgment against the De_fendant, CAHOKIA BUILDING,
L.L.C., in such amount in excess of this Couit’s jurisdictional requisite as will fairly and
adequately compensate the Plaintiff for the injuries, losses, and damages as herein above alleged

COUNT XII - CAHCKIA BUILDING, L.L.C.
(Survivnl) l
» NOW COMES the Plaintiff`, JUDiTI-I BOYD, as Special Administrutor oi" the Estate oi`
LARRY BGYD, deceased, by and through her attorneys, l(RALOVEC, JAMB()IS. 8c
SCHWARTZ, and complaining oi` the Dcfendant, CAHOKIA BUILD¥NG, L.L.C., states us
follows: d

l»9. That the Plaintit`t` hereby re-ailcges and incorporates paragraphs l through 9 of
Count XI as and for paragraphs l through 9 of` this Count XII as though fully set t`orth herein.

lO. 'i`hat as a direct and proximate result of one or more ot' the foregoing and careless
slid negligent acts ass/013 sessions ss the sur st fhs. Dsfsn<.!nt_ cancels ensuing

L.L.C., by and through its agents, servants, and/or employees whether actual cr apparent, the

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Decedeut, LARRY BOYD, was injured and suffered damages of a personal and pecuniary
nature, including pain and suffering prior to his death, damages for which had he survived he
would have been entitled to maintain an action; and such an action has survived him'and accrued `
to the benefit of his heirs at law, to wit, JUDITH BGYD, his wii`e, TIANhIA BO`.YD, his
daughter, LARRY BOYD, IR., his son, TIANNA BOYD, his daughter, 'I‘AN!A PAULE'I"[`E, his
claughter,. and WILLIAM MICHAEL PA.ULETTE, his son.

ll. That the Plaintiff brings this action in Count XH under 755 ILCS 5/27»6
commonly known as the Survival Aet of lilinois.

WHEREFORE, the Plaintitf, JUDITH BOYD, as Special Administrator ofthe Estate ot`
LARRY BOYD, deceased, prays i`or judgment against the Defendant, CAHOKIA BUILD!NG,
L.L.C., in such amount in excess of this Couit’s jurisdictional requisite as will t`airly and
adequateiy compensate the'Plaintiff for the injuries, iosses, and damages as hereinabove alleged

COUNT XIII -- SHELDON WOLFE

 

(Nursing Home Care Aet)

NOW COMES the Plaintif'f, JUDITH BOYD, as Speoial Administr'ator of the Estate of
LARRY BOYD, deceased, by and through her attomeys, KRALO`VEC, JAMBOIS, &
SCI'IWARTZ, and complaining of the Defendant, SHELDON W()LFE, and states as follows:

l. ’Fllat on, prior, and subsequent to August i, 2008,'and at all times relevant hereto,
the Det`endant, SI~IELDON WOLFE, was an owner, manager,~administrutor, agent and/or
employee, whether actual or apparent, of Det'eudant(s), CALVER'I‘, SW MANAGEMENT
and/or CAHGKIA, which are illinois corporations which owned, operatcd, \nanagecl,
maintained and/or controlled healthcare facilities, institutions, and/or offices located in and
throughout the Stnte of illinois.

2. That on, prior, and subsequent to August i, 2008, and at all times relevant hcreto,
the D_ei’endant, SHELDO_N \VOLB'E,_ as an ownelj, manager, a_dministrator`_ agent andqu

employee, whether actual or appareut, of Defendant(s), CALVERT, SW MANAGEMENT

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and/or CAHOK¥A, offered medical and nursing care and other daily living assistance, to the
public and to the Decedent, LARRY BOYD, and employed various physicians, nurses, and/or
other healthcare professionals in the provision of such services

3. Tbat on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Decedent, L!\RR`Y BOYD, was a resident of the facilities owned, operated, managed,
maintained and controlled by the Det'endant, SHELDON WOLFE, as an owner, manager,
administrator, agent and/or employee, whether actual or apparent, of Defendantts), CALVERT,
SW Mr\NAGEMENT and/or CAI~IOKIA, which had accepted the Decedent, LARRY BOYD,
as a resident and undertook to provide care and treatment to him during his residency. .

4. That on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
there was, in full force and effect, a statute known as the Nursing I~Iome Cat‘e Act, as amended
(the ‘_‘ACT”), 210 ILCS 45/*l~lOl et seq.

5. That on, prior, and subsequent to August l, 2008, and at all times relevant hcreto,
the Defendant, SHELDON WOL}_B`E, was an “owner” and "aclministrator” as defined by 45/1~
113 ot' the Act and was subject to the requirements of the Act and the regulations of the illinois

` Department ot`Publlc Health promulgated pursuant to the Act.

6. That on, prior, and subsequent to August 1,2008, and at all times relevant hereto,
the Det`eudant, SHELDO_N WOLFE, was subject to the requirements of 42 U.S.C.A. § l396r
(1990) et seq. as amended by the Omnibus B_udget Reconoiliation Act of 1987 (“GBRA”).

7. That on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Det`endant, SHELDON WOLFE, was subject to the requirements ot` Volume 42, Code of
Federal Regulations, Part 483 setting forth Medicarc and Medicaid Requirements for Long Term
Facilities (“OBRA ll.-EGULA'I`ION”), as effective on October l, 1990.

8. T hat on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Defendant_, SllIQLDON WOLEE, was an “owner"_ and ‘_‘adrniilistrator” as_.'definedv b_y 4`_2_,
u.s,c,A. § 1396a v

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9. ~ Tlmt on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Dei`endant, StlELDON WOLFE, as owner and administrative officer and by and through its
owners, agents, servants, and/or employees, whether actual or apparent was under a statutory
obligation not to violate the rights of any resident of the facility including the obligations not to
abuse or neglect any resident as provided by the Aet as follows:

Au owner, licensee, ndrninistrator, employee or agent of n facility shall not abuse or
neglect a resident lt is the duty of any facility employee or agent who becomes
aware oi‘ such abuse or neglect to report lt as provided in "The Abused and
` Ne'g'l'ect'é'ti Lo'n"g Tei'tit Cti`ré Fttcllity’ Res'id'eiits' Reportin"g".¢\ct" "(210 [L'CS 45/2~`1`0’7)`
WW*WWWWWR*WR**WW&RW*#RW*WW**WW*%***W*W*#W*WWWWW
"Owner" means the lndividual, partnership, corporation, association or other
person who owns a facility. In the event a facility `is operated by tr person who leases
the physical plant, which is owned by another person, "owner" means the person
who operates the facility, except that lt` the person who owns the physical plant is an
affiliate of the person who operates the facility mullins significant control over the
day-to~day operations of the facility, the person who owns the physical-plant shall
incur jointly and severally with the owner all liabilities imposed on an owner under
this Act. (2,10 ILCS 45/1-119)
W%WWPWWkWW*WW***W**%WWW*RW**WWWW##*WW*WWW#WRWW#
"Llcensee" means the individual or entity licensed by the Departni`ent to operate the
facility. (210 ILCS 45/1~ ~115)
RHWWWW*WWWWWWPRWWWWWWW*WW%WWWWWWWW%%WWW%WW**W*# '
"Adminlstrator" means a.person who is charged with the general administration
and supervision of a facility and ileensed, if required,‘ under the Nursing Home

Administrators Licensiug and Dlsciplinary Act, as now or hereafter amended. (210
ILCS 45/1~105)
RWW#*WWWWW*WWWKWWWR*WWWWWWW#RWWWWWWWWWWWWNW*Wkk

"Abuse" means any physical or mental injury or sexual assault inflicted on a

resident other than that by accidental means in a facility. (210 !LCS 45/1~103)
*W*WWW**WWkWWW*WWwWWWWWWwkw#*d*k%kk*kk*%wk#w%#w

"Neglect" means a failure' 111 a facility to provide adequate medical or personal care
or maintenance, which tailure results in physical or mental injury to a resident or in
the deterioration of a resident's physical or mental condition (210 ILCS 45/1-117)
lO, That on, prior, and subsequent to August l, 2008, and stall times relevant hereto,
during the course ot' the residency ot` the Decedent, LARRY BOYD, at CALVERT and
CAHOKIA, the Dcfendant SHELI)ON WOLFE, as an owner, manager, administrator, agent
and/or employee, whether actual or apparent, 1 ot` Dct`endant(s), CALVERT, SW
MANAGEMENT and/or CAHOKIA, whether actual or apparent, violated the provisions of the

Act as't`oilows: ’ w

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a. Failure to ensure that the nursing facility was adequately staffed with
qualified and licensed medical professionals to provide adequate care for
the resident in violation of OBRA RBGULATION 42 CPR 483 .30;

b. Failure to appropriately finance the hiring of appropriately trained staff
in violation of (Zitl l'LCS 45/3~202) (t`rom Cli. ill l/Z, par. 4153-202);

c. Failure to ensure the health and safety of ali residents at the nursing
facility in violation ol`(ZlO ILCS 45/2-101) (t`rom Ch, iii l/Z, par.
4152“101);

d. Failure to report the abuse or neglect to the appropriate authorities

pursuant to the "The Al`)usecl and Neglected Long Term Care Facility
'R‘e‘sident's Re'po'rti'n'g' A"c't" ' (2'i0 'IL'CS' 45/2»'107)"'('&‘{')'&1 `Cli'. '1'1“1"'172',` p'ai".'
4x52~107); -

ll. 'l`hat as a direct and proximate result ot' one or more ot` the foregoing careless and
negligent acts and/or omissions on the part of the Defendant, SHELDON WOLFE, as owner and
administrative officer and by and through its agents, servants, and/or employees, whether acmai
or apparent, the Decedent, LARRY BOYD, sustained serious and permanent injuries; expended

great sums ot` money in an attempt to be cured-; suffered from disabiiity and disfigurement; and

experienced great pain, physical and mental suffering, of which such injuries were permanent in

nature. '
l_Z. That the Nurslng I~Iome Care Act, as amended, provides as follows:

The licensee shall pay the actual damages and costs and attorney's fees to n
facility resident whose rlghts, ns specified in Part 1 of Article II of this Aet,
are violated (210 [LCS 45/3~602).

13. ’[`hat the Nursing Home Care Act, as amended,' provides as follows:

Tlle owner and licensee are liable to a resident for any intentional or

negligent net or omission of their agency or employees, which injures the
resident (Zli) ILCS 45/3~601).

' WHEREFORE, the Plaintit'f, JUDITH BOYD, ns Speciai Administratcr of the Estate ot`
LARRY BOYD, prays for judgment against the Det'endant, SHELDON WOLFE, in such
amount in excess of` this Coun’s jurisdictional requisite as will fairly and adequately compensate

the 1?1aif1tif.t for detainees lessee and damages as herein above alleged

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constr xiv ~ sHELDON woLl-‘n

 

(Wrongful Death) ‘

NOW COMES the Plaintiff, JUDI’I‘H BOYD, as Speeial Administrator of the Estate of
LARRY Bt)YD, deceased,_ by and through her attorneys, KRALOVEC, JAMBGKS &
SCHWARTZ, and complaining ot' the Det`endant, SHELDON WOLFE states as t`ollows:

i. ’l`hat on, prior, and subsequent to August 1,2008, and at all times relevant hereto,
the Det`endant, SHELDON WGLFE, was a nursing home owner, manager, and/or administrator
in the State of lilinois, who owned, operated, managed, maintained and/or controlled various
nursing healthcare facilities and institutions in the State of Iliinois.

' 2. That on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Det‘endant, SHELDON WOLFE, offered assisted ltving, nursing care, and professional
services related thereto to the public and to the Decedent, LARRY BGYD, and employed various
physicians, nurses and/or other health care professionals in the provision of such services

3. ’l`hat on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Det`endant, SHELDON WOLFE, was an owner, manager, administrator, agent and/or
employee ot` the Defendant(s), C}\LVERT, S`W MANAGEMEN'I` and/or CAHOKIA, and at all
times relevant hereto, acted within the scope of that ownership, management, administration,
agency and/or employment n

4. 'l`liat on and prior to August l, 2008, and at all times relevant hereto, the
Def`endant, SHELD()N WOLFE, as an owner, managcr, adrninistrator, agent and/or employee,
whether actual or apparent, ot` Det'endant(s), CALVERT, SW MANAGEMENT and/or
CAHOKIA, accepted the Deoedent, LARRY BGYD, as a resident and undertook to provide
nursing care and professional services to LARRY BGYD, deceased

5. 'l`hat on, prior, and'snbsequent to August l, 2008, and at`ali times relevant hereto,
there 'e)tisted_ a duty on the part of the Delendant,_SlIlS_LDON WOL_FE,'to possess and apply the

skill and knowledge ot` a reasonably well~qualitied nursing home.o\vner, and to plan, organize

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direct, and supervise the operation, trestment, and care ol:` the resident’s cf the nursing home y
owned, operated, managed maintained and/or controlled by the Det`endant{s), CALVERT, S`W
MANAGEMENT and/or CAHOKIA, in a manner which equaled or exceeded the applicable
standard ot' care.

6. 'l'hat on and prior to August l, 2008, the Decedent, LARR`Y BOYD, was a
resident ol’ the Dct'endant l`acility, CALVERT, where he developed skin breakdown, which
ultimately progressed into necrotic tissue; several dccul)itus ulcers, leading to cstcomyelitis; and
fever and respiratory distress that worsened, requiring bronchoscopy and chest tubes, causing the
Decedent’s condition to rapidly deteriorate until his untimely death on April 20, 2009. 5

7. 'I`hat on and prior to August l, 2008, the Deeedent, LAP.RY BOYD, was a
resident of the Defendant_facility, CAHOKTA, where he developed significant decubitus ulcers,

l many of which progressed in severity to Stage lV ulcers, including the development of right hip
osteomyelitis and sepsis; worsening contractures; a multi»drug resistant bacterial infection of his
central line; and significant weight loss, causing the Decedent’s condition to rapidly deteriorate
until his untimely cannon Ap'rn zo, 2009.

8. d ’l`hat in disregarding his duties, the Dcfendunt, SIIELDON WOLFE, in his own
administrative officer and ownership duties and by and through its agents, servants, and/or
employecs, whether actuator apparent, was then and there guilty of one or more of the following
careless and negligent acts and/or omissions'. l

a. Bailure to ensure that the nursing facility was adequately staffed with
qualified and licensed medical professionals to provide adequate care for

the resident;

b, Failure to appropriately finance the hiring ot` appropriately trained staff;

.G

Failure to ensure the health and safety of all residents at the nursing
facility; and `

d. Failure.to report the abuse or neglect to the appropriate authorities

pursuant to the '""l`he Algi\scd and Neglected Long 'I`errn Care Fae_ili_ty .
Residents Reporting Act“. '

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9. Thz\t ns a direct end proximate result of one or more of the foregoing careless and
negligent acts and/or omissions on the part of the Det`endant, StiELDON WOLFE, as an owner
and administrative officer and l)y and through its agents, servants, and/or empioyees, whether
'aetual or appurent, the Dececient, LARRY BOYD, sustained serious and permanent injuries
which ultimately led to his unrimeiy death on Apr`n 20, 2009.

10. 'i`imt the Cirouit Court of Cooi¢:l County, Iliinois, Couniy Department, Law
Division, has entered miOrder appointing JUDITH BOYD as Speoial Admim'strator of the
Estate oi` Li\ilItY BOYD, deeeascd, evidencing her right and standing to'sue.

11, 'i`imt the Deoedent LARRY` BOYD, has lett surviving his next~of`-kin, to wit,
JUDITH BOYD, his wife, TIANNA BOYD, his daughter, LARRY BOYD, JR., his son,
TIANNA BOYD, his daughter, TANIA PAULE’I'I`E, his daughter, and WiLLD\M MICHAEL
PAULE'I°TE, his son, who have suffered severe and pelmanent damages, including but not
limited to, loss of service, oompanionship, and society as'a result of the premature death of

l LARRY Bovo.

12. That|the Plaintiff` brings this notion in Count XIV under 740 ILCS 180/01 et. Seq.
commonly known ns the Wrongful»Death Aot of [llinois.

WHEREFORE, the Plaintiff, JUDITH BOYD, as Speoial Administrntor of the Estute of
LARRY B()YD, deeeused, prays for judgment against the Dei`encinnt, SHELDON WOLB`E, in
such amount in excess of this Court’s jurisdictional requisite ns will thirty and adequately
compensate the Piaintifi' for the injuries, losses, and damages as herein above alleged.

COUNT XV - SHELDON WOLFE

 

(Survival)
NOW'COMES the Piaintit`f`, JUDITH BDYD, as Speoial Aclministrator of the Estate of `
LARRY BOYD, ciecensed, by and through her attorneys, KRALOVEC, JAMBOIS &.

SC.HWA.R _`Z» md voml.?l“lnine effie D<:’FeridazitiSHELDON W.GL_FE., states as fo..l!ows.; '

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l»iO. 'I‘hat the Plaintii`f hereby re~alleges and incorporates paragraphs l through 10 of
Count XV as and for paragraphs 1 through 10 of this Count XV as though fully set t`orth hereln.

l l. 'i`hat as a direct and proximate result of one or more of the foregoing'and careless
and negligent acts and/cr omissions on the part ot` the Defendant, SHELDGN WOLFE, as an
owner and`adininistrative officer and by and through its agents,‘servants, and/or employees,
whether actual or apparent, the Decedent, LARRY BO`YD, was injured and suffered damages of
a personal and pecuniary nature, including pain and suffering prior to his death, damages for
which had he survived he would have been entitled to maintain an action; and such an action has .
survived him and accrued to the benefit of his heirs at law, to wit, JUDITH BOYD', his wit‘e,
TIANNA BOYD, his daughter, LARRY BOYD, JR., his son, TIANNA BOYD, his daughter,
TANIA PAULETTE, ins negates and erLIAM MICHAEL PAoLsTrs, ms son

i2. 'That the Plaintit`i` v brings this action in Count XV under 755 ILCS 5/27-6
commonly known as the Sut'vival Act ot`Illinois.

WHEREFO RE, the Plaintii`f, JUDITH BO`YD, as Special Administrator of the Estate of"
LARRY BOY`D, deceased, prays t`or judgment against the Defendant, SHELDON WGLFE,. in
such amount in excess of this Court’s jurisdictional requisite as will fairly and adequately
compensate the Plaintifi' for the injuries, losses, and darnages as hereinabove allegedl

constr xvr~`nourms KLElN
(Nursing Homc Care Act)

NOW COMES the Plaintifi`, JUDITH BOYD, as Special Adrninistrator of the Estate of
LARRY BOYD, deceased, by and through her attorneys, I{IIALOVE¢, JAMBOIS, &
SCHWARTZ, and complaining of the Defendant, l{DNNIE KLEIN, and states as follows:

i. Tliat on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Dei`eiidant, RONNIE KLEIN, was an owncr, manager, administrator, agent and/or employee
whether usual art earnest Of Dst`sn€hmts),, CA.L.VER'!T., .S‘YV MANASEIY_IENI aid/.Qr

CAHOKIA, which are illinois corporations which owned, operated, managed maintained

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and/or controlled healthcare facilities, institutions, and/or offices located in and throughout the
State oi`illinois.

2. ’ 'l`hat on, prior, and subsequent to August l , 2008, and at all tirnes relevant hercto,
the l_)et`endant, R()NNIE KLEIN, as an owner, manager, administrator,- agent and/or employce,
whether actual or apparent, of Det`endant(s), CALVERT, SW MANAGEMENT and/or
CAHOKIA, offered medical and nursing care and other daily living assistance, to the public and
to the Deccdent, LARRY BOYD, and employed various physicians nurses, and/or other
healthcare professionals in the provision of such services

3. 'l`hat on, prior, and subsequent to August l, 2008, and at all times relevant hercto,
the Deccdent, LARRY BC)YD, was a resident of the facilities o\vned, operated, managed,
maintained and controlled by the Det`endant, RONNIE KLEIN, as an owner, manager,
administrator, agent and/or employee, whether actual or apparent, oi` Defendant(s), CALVERT,
SW MANAGEMENT and/or CA.HUKIA, which had accepted the Decedent, LA.RRY BOYD,
as a resident and undertook to provide care and treatrnent to him during his residency.

4. That on, prior, and subsequent to August l, 2008, and at ali times relevant hereto,
there was, in full force and effect, a statute known as the Nursing I~Iome Care Act, as amended
'(the “ACT_”), 210 lLCS 45/ l»lOl et seq.

5. That on, prior, and subsequent to August i, 2008, and at all times relevant hereto,
the Det'eudaui, RONNIE ICLEIN, was an “owner” and "atlministrator” as defined by 45/1~l 13 oi`
the .Act and was subject to the requirements of the Act and the regulations ot` the Illinois
Department ol" Public I-Iealth promulgated pursuant to the Act.

6. 'l‘hat on, prior, and subsequent to August 1,2008, and at ali times relevant hereto,
the Dct`endant, RONNIE KLELN, was subject to the requirements ot`42 U,S.C.A. § l396r (1990)
et seq. as amended l)y the Omnibus Budget Reconciliation Act ot` 1987 (“OBRA”).

w 7. 5 4 l" hat on, prior, and subsequent to August 12_2008,_ and at all times relevant hereto,

the Det`endant, RONNIE KLEIN, was subject to the requirements of Volutne 42, Code of

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Fedeijal R.egulolions, Pert 483 setting forth Medioare and Medioaid Requirements t`or Long 'l‘erm

Foeilities (“OBRA. REGULATION"), as effective on Gotober l, 1990.

8. ”Ihat on, prior, vand subsequent to August l, 2008, and at all times relevant hereto,
the Det`endant, RGNN!E KLEIN,` was an “owncr" and “administrator” as defined by _42
u.s.C.A.§ 13961.

9. 'l‘hat on, prior, and subsequent to Angust l, 2008, and at all times relevant hereto,
the Det`endant, RGNNIE KLEIN, as owner and administrative officer ond'l)y and through its '
owners, agents servsuts, and/or employees whether actual or appz\rentl was under a statutory
obligation not lo violate the rights of any resident of the facility including the obligations not to

abuse or neglect any resident as provided by the Act us follows:

An owner, llccnsee, ndministrator, employee or agent of a facility shall not abuse or
neglect a resident lt is the duty of any facility employee or agent who becomes
aware of such abuse or neglect to report it as provided in "The Abused and
Neglectcd Long 'I'erm Care Facility Residents Reporting Act". (210 lLCS 45/2~107)
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"Owner'_' means the individual, partnership, corporation, association or other
person who owns a fncility.` In the event a facility is operated by a person who leases
the physical plant, which'is owned by another person, "owner" means the person
who operates the facility, except that it` the person who owns the physical plant is an
affiliate of the person who operates the facility and has significant control over the
day~to*day operations of the facility, the person who owns the'plxysical plant shell

incur jointly and severally with the owner all liabilities imposed on an owner under
this Act. (210 ILCS 45/1~119) '

kww**%**k*W$k*#*k*%#*kw%kw*k%WWWWWW%WWWW*W%WW*W

"Licensee" means the individual or entity licensed by the Dcpartment to operate the
facility. (210 ILCS 45/1¢115)

kN*W#***WWW*WWWWWWWWWWWWR*W*WWW%WRWWWW*WWW*§WWW
"Administrator"'means a person who is charged with the general administration
and supervision ot` a facility and licensed, if required, under the Nursing Home

Admlnistrato_rs licensing and Discipiinary Aet, as now or hereafter amended. (210
ILCs 45/1~105)

w*****w%#kw*k****%*wk**kwk*%kwwwwkwk*k*%kw#*#*#
"Abnse" means any physical or mental injury or sexual assault inflicted ou a
resident other than that l)y accidental means in a facility. (210 ILCS 45/1~103)

kwW**WWW*WW*****WWRWR**WWW%%W***WWWWWW%WW*WWR$W

"Neglect" means a failure in a facility to provide adequate medical or personal care
or maintenancc, which failure results in physical or mental injury tea resident or_in
the deterioration of a rcsidcnt's physical.or mental condition. (210 ILCS 45/1-117)

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lO. 'I`nat on, prior, and subsequent to August 1,2008, and at all times relevant hercto,

during tire course of the residency ot` the Decedent, LARRY BOYD, et CALVERT and

CAHOKIA, thc Dct`endant RONNIE KLEIN, as nn o\vner, manager, udministrntor, agent and/or

employee, erctlier actual or appurent, of Dct'endant(s), CALVERT, SW MAN¢§GEMENT
and/or CAHOKIA, whether actual or,npparent, violated the provisions oi‘ the Act as follower

a. Failure to ensure that the nursing facility was adequately stuffed with

qualified and licensed medical professionals to provide adequate care for
the resident in violation ot` OBRA REGULATION 42 CFR 483.30;

b. Fuiluro to appropriately finance the hiring of appropriately trained staff
in violation of (210 ILCS 45/3-202)(£'1'01'11 Ch. ill 1/2, par. 4153-202); '

c. Fsilure to ensure tlie health and safety of ali residents at tire nursing
i`nciilty in violation of(210 ILCS 45/2-101) (t`rom Ch ill 1/2, psr
4152~101); ‘

d. Fuilure to report the abuse or neglect to the appropriate authorities

pursuant to tire "Thc Abused and Neglected Long Term Care Feoiiity
Residents Reporting Act" (210 iLCS 45/2-l07) (from Ch. lll 1/2, par.
4152-107);

ll. That as a direct and proximate result ot` one or more of the foregoing careless and
negligent acts and/cr omissions on the part ot' the Defendsnt, RONNIE KLE]N, as owner end
administrative officer and by and through its agents, servants, and/or employees, whether actual
or sppnrent, tile Dece<lent, LARRY BOYD. sustained serious and permanent injuries; expended
great sums of money in an attempt to be cured; suffered from disability and tiist`igurement; and
experienced great puin, physical and mental sul'fering, of which such injuries were permanent in
nature

12. That the Nul'sing H<)me Care Act, as amended, provides ss foilows:

’ll`he licensee shull pay the actual damages and costs and attorncy's fees to, a
facility resident whose rights, as specified in Part l of Article [I of this Aet,
are violated (210 [LCS 45/3-602). `

13. That the Nursing Home Care Act, as amended, provides ns foilows:

Thc owner and licensee are linbic to n resident for _nny intentional or

negligent not cr onilssion ot` their ngcncy or elnplcyces, which injures the
resident (210 ILCS 45/3- 601).

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WHEREFORE, tire Piaintifi', JUDITH BOYD, as Special Atlministrator of the Estate of
LARRY BOYD, prays for judgment against the Defendant RONNlE KLEIN in such amount
in excess of this Conrt’s jurisdictional requisite as will fairly and adequately compensate the
Plaintiff for the injuries, losses, and damages aslierein above alleged.

CO`UNT XVlI - RONNIE KLEIN

 

(Wrongful Death) _

' NOW'COMES"the'Plaintiff,' ;IUDITH"BOY'D; 'as Sp'e'ei'al Atlttiini`st'r'attj'r o"f'tl‘ie Estate ot"
LARRY BOYD, deceased, by and through her attorneys, KRALOVEC, JAMBOIS &
SCHWARTZ, and complaining of the Det`endant, RONN!E KLEIN states as follows:

' l. n ’I`hat on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Defendant, `RONNIE KLEIN, was a nursing home o\vner, manager, and/or administrator in
the State of lllinois, Wllo owned, operated, managed, malntained, and/or controlled various
nursing healthcare facilities and institutions in the State oflilinois. '

2. That on,' prior, and subsequent to August l, 2008, and at ali times relevant liereto,
l tire Det`endant, -RONNIE KLEIN, offered assisted iiving, nursing care, and professional services
related thereto to the public and to the Dececlent, Lr\R.RY BOYD, and employed various
physicians', nurses and/or other health care professionals in the provision of such services
3. That on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Det'endant, RONNIE I{llElN, ives an owner, managcr, adtninistrator, agent and/or employee
of the Defendaut(s), CALVERT, SW MANAGEMENT and/or CAHGKIA, and at all times
relevant hereto, acted within the scope of that ownership, management, administration, agency
and/or employment.
4, That on and prior to August l, 2008, and-at ali times relevant hereto, the
Det'endant, RONNIE KLE]N, as an o\vner, manager, administrator, agent nmi/or employec,

rvl)ctllcr actual or apparent, 'oi' Defenda1tt(s}, CALVERT, SW WIAN¢&(§ED'IEN'F and/or

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CAHOKIA, accepted thc 'Deccdent, LARRY BOYD, as a resident and undertook to provide
nursing care and professional services to L¢\RRY BOYD, deceased

5. ' 'l’hat on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
there existed a duty on the part of the Def`endant, RONNIE KLEIN, to possess and apply the
skill and knowledge of a reasonably weli~quallt`ied nursing home owner, and to pian,_ organize
direct, and supervise the operation, treatment, and care of the resident’s of the nursing horne
owned, operated, managed maintained and/or controlled by the Det`endant(s), CALVER'H', SW
MANAGEMENT and/or CAHOK!A, in a manner which equated or exceeded the applicable
standard of care.

'6. ’I`hat on and prior to £tugust 'l, 2008, the Decedcnt, LARRY BOYD, was a
resident of the Dei`endant facility, CALVERT, where he developed skin breakdown, which
ultimately progressed into neurotic tissue; several decubitus ulcers, leading to osteomyeiitis; and
t`ever and respiratory distress that worsened,‘ requiring brouchoseopy and chest tubes, causing the
Decedeut’s condition to rapidly deteriorate until his untimely death on April 20, 2009.

7. 'i’iiat on and prior to August l, 2008, the Decedent, LARRY BOYI), was a
resident of the Dei_'endant taciilty'. CAHOKIA, where he developed significant decubitus ulcers,
many ot` which progressed in severity to Stage l"V ulcers, including the development of right hip
osteomyelitis and sepsis; worsening contractures; a multi~drug resistant bacterial infection of' his
central line; and significant weight ioss, causing the Dcccdent’s condition to rapidly deteriorate
until his untimely death on April 20, 2009.`

8. "l`hat in disregarding his duties, the Det`endant, RONNIE KLEIN, in his cwa

administrative officer and ownership duties and by and through its agents, scrvants, and/or
employees, whether actual or apparent, was then and there guilty ot` one or more of the following

careless and negligent acts and/or omissions:

a. Faiiure to ensure that the nursing facility was adequately staffed _wit_h

qualified and licensed medical professionals to provide adequate care for
the residcnt;

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b. Fallure to appropriately finance the hiring of appropriately trained sta ff;

c. Failure to ensure the health and safety of all residents at the nursing
facility; and
d. Failure _to report the abuse or`neglect to the appropriate authorities
pursuant to the "The Abused and Neglected Long ’l`erm Care Faeility
Residents Reporting Act".
1 9. That as a direct and proximate result of one or more of the foregoing careless and

negligent acts and/or omissions on the part of the Del`endant, RGNN]E KLEIN,. as an owner and
administrative officer and by and through its agents, sewants, and/or employees, whether actual
or apparent, the Decedent, LARRY BOYD, sustained serious»and permanent injuries which
ultimately led to his untimely death on April 20, 2009.

lO.. That the Circuit Couit of Cool< County, illinois, County Department, Law
Division, has entered an Orcler appointing JUDITH BGYD as Special Adtninistrator of the
Estate of LARRY BOYD, deceased, evidencing her right and standing to sue.

ll. That the Decedent LARRY BOYD, has left surviving his next-ot’~kin, to wit,
dUDlTH BOYD, his wife, TIANNA BOYD, his daughter, LARRY BOYD, JR., his son,
TIANNA BOYD, his daughter, TANIA PAULETTE, his daughter, and WTLLIAM MICHAEL
PAULETTE, his son, who have suffered severe and permanent damages, including, but not
limited to, loss of service, companionship, and society as a result of the premature death of
LARRY BOYD.

12. That the Plaintil`i` brings this action in Count XVH under 740 ILCS 180/01 et.

' seq. commonly known as the Wrongful Death Act of illinois 1

WHEREFORE, the Piaintiff, JUDITH BOYD, as Special Administrator of the Estate of
LARRY BOYD, deceased, prays forjudgment against the Defendant, RONNIE KLEIN, in such .
amount in excess of this Court’s jurisdictional requisite as will fairly and adequately compensate

' the Pl_aintiff for the inj_url_e$_, losses, and damages a_s herein above alleged v

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C()UNT KVHI - ROHNIE KLEIN
` (Suwival)

, NOW COMES the Plaintiff, JUDITH BOYD, as S_pecial Administrator of the Estate ot`
LARRY B()YD, deceased, by and through her attomeys, KRALOVEC, JAMBOIS &
SCHWARTZ,'and complaining of the Dei`eridant, RONNIE KLEIN, states as follows:

. '1~10. That the Plaintifi` hereby irc-alleges and incorporates paragraphs 1 through 10 of
CountX\/il as and for paragraphs l through 10 of this Count XVIII as though fully set forth
herein. _ d

ll. 'l`hat as a direct and proximate result ot' one or more of the foregoing and careless
and negligent acts and/or omissions on the part of the Def`enclant, RONN!E KLEIN, as an o\vhea
and administrative officer and by and through its agents, servants,' and/or employees, whether
actual or apparent, the Decedent, LARRY BOYD, was injured and suffered damages of a
personal and pecuniary nature, including pain and suffering prior to his death, damages for Whloh
had he survived he would shave been entitled to maintain an aetlon; and such'an action has
survived him and accmed to the benefit of his heirs at law, to wit, JUDITH BGYD, his vvif`e,

.'i‘rANN'A BOYD, his <taughcer, LARRY BoYD, m., his sort TLANNA BoYD, his daugheer,
TANIA PAULETTE, his daughter, and WILLIAM MICHAEL PAULE'ITB, his son.

lZ. That the Plaintit`f brings this action in Count XVHI under 755 ILCS 5/27»6
commonly known as the Survlval Aot of Illinois.

WHEREFORE, the Plaintit`f, JUDITH BOYD, as Special Administrator of the Estate of -
LARRY BOYI), deceased, prays forjudgmcnt against the Det`entlant, RONNIE KLEIN, in such
amount in excess of this Court’s jurisdictional requisite as \Ylli fairly and adequately compensate
the Plaiutii`i` for the lnjuries, losses, and damages as hereinabove alleged.

COUNT XIX - MOSHE lIERMAN

(Nursing Home Cai'e Act)

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NOW COMES the Plaintil`f, JU])l'l`H BOYD, as Special Administrator of the Estate ot`
LARRY BOYD, deceased_, by and through her attorneys, KRALOVEC, JAMBOIS, &.
SCHWARTZ, and complaining ot` the De`t'endant, MOSHE HER_MAN, and states as i`ollows:

l. 'l`hat on, pi'lor, and subsequent to August l, 2008, and at all times relevant hereto,
the Defendant, M_OSHE HERMAN, was an owner, manager, administrator, agent and/or
employee, whether actual or apparent, of Det`endant(s), CALVERT, SW MANAGEMENT
and/or CAEI§JIG§\, which are lliinois corporations which owned, operated, managed,
maintained and/or controlled healthcare facilities, institutions and/or offices located in and
throughout the State of lllinois.

2. That on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Dcfendant, MOSHE HERMAN, as an 'owner, inanager, administration agent and/or
empioyee, iit/hether actual or apparent, ot` Defendant(s), CALVERT, S`W MANAGEMENT
and/or CAHOKIA, offered medical and nursing care and other daily living assistance to the
public and to the Decedent, LARRY BOYD, and employed various physicians, nurses, and/or
other healthcare professionals in the provision of such services.

3. That on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Deeedent LARRY BO`YD, was a resident of' the facilities owned, operated, managed,

maintained and controlled by the Defendant, MOSHE HERMAN as an owner, manager,
administrator, agent and/or employeex whether actual or appar,ent of Det`endant(s), CALVER‘!`,
SW MANAGE`MENT and/or CAHOKIA, which had accepted the Decedent, LARRY BOYD,
as a resident and undertook to provide care and treatment to him during his residency.

4. That on,` prior, and subsequent to August l, 2008, and at all times relevant hercto,
there was, in hill force and et`fect, a statute known as the Nursing Home Cai'e Aet, as amended
(the “ACT”), 210 ll.CS 45/1-101 et seq.

l 5. That on, prior, and subsequent to Angust, l,.2008, and at all times relevant,hereto,

the Def`endant, MOSHE HERMAN, was an ‘-‘owner” and “a<lministrator” as defined by 45/1-1 13

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of the Act and was-subject to the requirements of the Act and the regulations of the Illinois
Depat‘tment of l’ubllc llealth promulgated pursuant to the Act. '

6. 'l`hat on§ prior, and subsequent to August i, 2008, and at all times relevant hereto,
the Det`endant, MOSHE HERMAN, was subject to the requirements ot' 42 U.S.C.A. § l396r
(1990) et seq. as amended by the Omnibus Budget Rcconciliation Act of 1987 (“OBRA”).

7. '1`hat on, prior, and subsequent to At\gust l, 2008, and at all times relevant hereto,
the Det'endant, thSHE HERMAN, was subject to the requirements of Volumc 42, Code ol`
Federsl Reguiations, Part 483 setting forth Medicare and Medicaid Requirements t`or Long Term

Facilities (“OBRA REGULA'I`ION”), as effective on Cotohe'r l, 1990.

8. 'l`hat on, prior, and subsequent to August. 1, 2008, and at all times relevant hereto,
the Defendant, MOSHE l~IERMAN, was an “owner” and “administrator” as defined.by 42
U.S.C.A.§ 13961‘.

9. That on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Det`endant, MOSHE HERMAN, as owner and administrative officer and by and through its
owners, agents, servants, and/or empioyees, whether actual or apparent, was under a statutory
obligation not to violate the rights of any resident of the facility'lncluding the obligations not to

abuse or neglect any resident as provided by the Act as l`oliows:

An owncr, licensee, aclministrntoi', employee or agent of a facility shall not abuse or
neglect a rcsldcnt. lt is the duty of any facility employee or agent who becomes
aware ct` such abuse or neglect to report it as provided in "’I']xe Abused and
Neglcctcd Long Term Cnre Facillty Residents chorting Act". (ZI D.ILCS 45/2-107)
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"C|wner" means the indivitluitl, pnrtner'ship, corporation, association or other
person who owns a fncx'lity. In the event n facility is operated by a person who leases
the physical plant, which is owned by another person, "owner" means the person
who operates the facility, except that if the person who owns the physical plant is nn
affiliate of the person who operates the facility and has significant control over the
dny-to»~dny operations of the facility, the person who owns the physical plant shall
incm‘jclntly nutt severally with the owner all liabilities imposed on all owner under
this ¢ict. (2!0 lLCS 45/1~119)

#**W%kwd*##WW*WW#WW%k*****%*$k##*%*****#*kW*Wkw

"Licensee" means thewintlnlldnnlor cntity~licenscd by the Depnrtment to operate the
` fncilily. ('Z’lil [LCS 45/1~115)

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45'

 

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"Atlmlnistrotot'" means n person who is charged with the general administration
mut supervision of o facility and licenscll, if )'cquircd, under the Nurslng Home
Administa'ators Licenslng unit Disciplinary Act, ne now o\‘ hereafter umcntled. (210
ILCS 4511»105) '

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"Abuse" means any physical or mental lnjut"y or sexual assault inflicted on a

resident other then that by accidental means in a facility. (210 ILCS 45/1~103)
WWRWWWn**%**kwRWW*#w#kn*w%%##k**Wwwwwknkwwkwwkw `

"Neglcct" means o failure in a facility to provide adequate medical or personal care

or n\ninteunnce, which failure results in physical or mental injury to n resident or in

the deterioration of a resi<leut's physical or mental condition. (210 ILCS 45/1~117) ‘

lO. 'l`hat on, prior, end subsequent to August l, 2008, and at all times relevant hereto,

during the course ot` the residency ot` the Deeedelxt, LARRY BOYD, at CA'LVER'I’ and

CAHOKIA, the Dei`enclant MOSHE HERMAN, as en owner, manoger, ndministrato\', agent

and/or employee, Whether actual or nppm'ent, of Det`endunt(s), CALVERT,_ SW

MANAGEMENT and/or CAHOKIA, whether actual or apparent, violated the provisions of the
Act as follows:

a.' Failure to ensure that the nursing facility was adequately staffed with

qualified and licensed medical professionals to provide adequate em'e t`or

the resident in violation of OBRA REGULATION 42 CFR 483.30;

. b. Fellure to appropriately finance the'l\iring of appropriately trained stuff
in violation of (210 lLCS 45/3-202) (t`rom Ch. ill l/Z, pain 4153~202);

c. Foihn'e to ensure the health and safety of all residents at the nursing
facility in violation oi`(ZlO lLCS 45/2»10l) (from Clx. lli t/Z, por.
4152~101);
d, y Failu\'e to report the abuse or neglect to the appropriate authorities
pursuant to the "The Abusecl and Neglected Long 'l`erm Cere Facility
Residents Reporting Act" §210 lLCS 45/2~107) (i`rom Ch. ill l/Z, pnr.
4152~l0'7);
ll. 'I'hat as a direct and proximate result of one or more of the foregoing careless and
negligent acts and/or omissions on the part of the Det`enclant, MOSHE HERMAN, ns owner end
administrative officer and by and through its agents, servants, and/or employees, whether actual

or apparent the Decedent, LARRY BOYD, sustained serious end permanent injuries; expended

great sums ot` money in nn attempt to be cui'ed; suffered from disability and distigurement; and

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experienced great pain, physical and mental sut't`ering, of which such injuries were permanent in
nuture.
12. Tiiat the Nul'sing Home Cat'e Act, as a\nended, provides as follows:
'l‘lte licensee shall pny the actual damages and costs and nttorney' s fees to n
facility resident whose rights, ns specified in Part 1 of Article ll of this Act,
ore violated (210 ILCS 45/3 602)
13. 'l`hat the Nursing Home Cm'e Act, ns amendecl, provides ns lt`ollows:
'I‘lle owner and licensee ore liable to a resident for any intentional or
negligent net or omission of their agency or cmployees, which injures the
resident (210 ILCS 45/3~ 601)
WHEREFGRE, the Plaintift`, JUDITH BOYD, as Speoial Administrato`r of the Estote of
`LARRY BGYD, prays for judgment against the Defendant, MOSHE HERMAN, in such
amount iu excess of this Court’s jurisdictional requisite as will fairly and adequately compensate

the Plaintift` for the injuries losses, and damages as herein above alleged.

COUNT XX ~MGSHE HERMAN

 

(Wrongt`ul Desth)

N()W COMES the Plsintiff, JUDITH BOYD, as Speclal Aclministrstor of the Estate of
LARRY BOYD, cieceaseci, by and through her attomeys, KRALOVEC, JAMBOIS &
SCHWARTZ, and complaining of the Defendnnt, MOSHE HERMAN states as follows:

l. Thz\t on, pr_ior, and subsequent to August 1,2008, and at all times i'elevant hereto,
the Det`endant, MOSHE HERMAN, was a nursing home owner, maneger, and/or administrator
ill-tile State ol:` lllinois, who owned, operated, mannged, maintained, and/or controlled various
nursing healthcare facilities and institutions in the State of]llinois.

2. 'l`hst on, pi'ior, and subsequent to August 1_, 2008, and at all times relevant hel'eto,
the Del`endant, MO'SHE HERMAN, offered assisted living, nursing oare, and professional
services related thereto to the public and to the Deoedent, LARRY BOY`D, and employed various

physicians mu'ses,ancl/or other health care professionals in the provision of such seivices.

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3. That on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
the Del`endant, MGSHE I~IERMAN, was an owner, manager, administration agent and/or
employee of the Def'endant(s), CALVERT, SW MANAGEMEN'I' and/or CAHOKIA, and at all
times relevant hereto, noted within the scope of that ownership, management administration

agency and/or employment

/

4. 'l`hat _on and prior to August l, 2008, and at all times relevant hereto, the
Det`endant, MOSHE HERMAN, as an owner, manager, administration agent and/or employee,
whether actual or appat'ent, of Det‘endant(s), CALVERT, SW MANAGEMENT and/or
CAHOKIA, accepted the Deeecient, LARRY BOYD, as a resident and undertook to#provlde
nursing care and professional services to LARRY BOYD, deceased

5. ’l`hat on, prior, and subsequent to August l, 2008, and at all times relevant hereto,
there existed a duty on the part of the Dei`endant, MOSHE I'IERMAN, to possess and apply the
skill and knowledge ol:` a reasonably well-qualified nursing home owner, and to plan, organize,
direet, and supervise the operation, treatment, and care of the resident’s of the nursing home
owned, operated, managed, maintained and/or controlled by the Det'endant(s), CALVERT, SW
MANAGEMENT and/or CAHOKIA, ina manner which equaled or exceeded the applicable
standard of eare. n

6, ' That on and prior to August i, 2008, the Deoedent,' LARRY BOYD, was a
resident of the Dei`endant facility, CALVERT, where lie cleveloped~sl<in breakdown, which
ultimately progressed into neerotlc tissne; several decubitns _uleers, leading to osteomyelitis; and
fever and respiratory distress that worsened, requiring bronchoscopy and chest tnbes, causing the

, Decedent’s condition to rapidly deteriorate until his untimely death on April 20, 2009.

7. 'l`hat on and prior to August l, 2008, the Decedent, LARRY BQYD, was a
resident of the Defendant l`aollity, CAHOKIA, where he developed significant deenbitus ulcers,
many oi’ which progressed in severity to Stage iV ulcer-st including the development of right hip

osteomyelitis and sepsis; worsening oontractures; a multi~drng resistant bacterial infection of his

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central llne; and significant weight loss, causing the Dececlent’s condition to rapidly deteriorate
until his untimely death on _Aprll 20, 2009. v

8.. ' rl`hat in disregarding his duties, the Dei'endant, l\'IOSHE I-iERMAN, in his own

administrative officer and ownership duties and by and through.lts agents,»seivants, and/or

employees, whether actual or apparent was then and there guilty of one or more of the following

careless and negligent acts and/or omissions:
a. Failure to ensure that the nursing~f`aeillty was adequately staffed With
‘ qualified and licensed medical professionals to provide adequate care t`o't"

the resident;

b. Failure to appropriately finance the hiring ofapproprlatel'y trained staff;

c. Failure to ensure the health and safety of all residents at the nursing
t'acillty; and `
d. l Failure to report the abuse or neglect to the appropriate authorities

pursuant to the "'The Abused and Neglected Long Term Care Facility
Residents Reporting Act".

9. That as a direct and proximate result of one or more of the foregoing careless and
negligent acts and/or omissions on the part of the Defendant, MOSHE HERMAN, as an owner
and administrative officer and by and through its agents, servants, and/or empioyees, Whether
actual cr apparent the Decedent, LARRY BOYD, sustained serious and permanent injuries
which ultimately led to his untimely death on April 20, 2009.

lO. v ’l‘lmt the Clrcuit Coutt ot` Coolc County, lllinois, County Department, Law
Division, has entered an Grder appointing JU])I'[`H BOYD as S`pecial Administrator of the
Estate of LARR`Y BOYD, deceased, evidencing her right and standing to sue.'

ll. Tliat the Decedent LAB_RY BOYD, has left surviving his next-of-kin, to wit,
.JUDI’I`H BOYD, his wife, TIANNA BOYD, his daughter, LARRY BOYD, JR., his son,_
TIANNA’ BOYD, his daughter, TANIA PAULE'I"I`E, his daughter, and WILLIAM MICHA;EL

PAULETTE, his son,'who have suffered severe and permanent damages, includlng, but not

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limited to, loss of service, companionship, and society as a result of the premature death of
LARRY BOYD. .

lZ. That the Plalntlt‘f brings this action in Count XX under 740 ILCS 180/til ez. seq.
commonly known as the Wrongful Death Act ot` Illinois.

WHEREFORE, the Plaintiff, JUDITH BOYI}, as Special Adntlnistrator cf the Estate of
LARRY BOYD, deceased, prays for judgment against the Dei`enclant, MOSHE HERMAN, in
such amount in excess of this `Court’s jurisdictional requisite as will fairly and'adequately
compensate the i’laintift` for the injuries, losses, and damages as herein above alleged.

COUNT XXI - MOSHE HERMAN y

 

(Survival)

NG`W COMES the Plainti£t`, JUDITH BOYD, as Speeial Administrator of the Bstate of
LARRY BGY`D, deceased, by and through her attorneys, KRALOVEC, JAMBOIS &
SCHWARTZ,`and complaining ot` the Defendant, MOSHE `HLERMAN, states as follows:

l~lO. That the Plaintiff hereby re~alleges and incorporates paragraphs l through lO o_f

` Count XX as and for paragraphs l through 10 ot` this Count XXI as though fully set forth herein.

l l. Tlxat as a direct and proximate result of one or more ot'the foregoing and careless _
and negligent acts and/or omissions on the part of the Det`endant, MOSHE HERMAN, as an
owner and administrative officer and by and through its agents, servants, and/or eniployees,
whether actual or appat'cnt, the Decedent, LARRY BOYD, was injnt'ed_and suffered damages of
a personal and pecuniary nature, including pain and suffering, prior to his death, damages for
which had he survived he would have been entitled to maintain an aeticn; and such an action has
survived him and accrued to the benth of his heirs at law, to wit, JUDITH BOYD, his wit`e,
TIANNA BOYD, his daughter, LARRY BOYD, JR,, his son, TIANNA BOYD, his daughter,
'l`ANIA PAULE’l"I`E, his daughter, and WILLIAM MICHAEL PAULE'I"TE,.his son.

12. That the Plaintit't` brings this action in Count `XXI under 755 iLCS 5/27~6

commonly known as the Survival Act of illinois

v50

 

